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                                           Individual Estate Property Record and Report
                                                            Asset Cases
Case Number: 308-01429 MFH                                                           Trustee:         (620530)    SUSAN R. LIMOR, TRUSTEE
Case Name:         GENESIS, INC., A TENNESSEE CORPORAT                               Filed (f) or Converted (c): 02/21/08 (f)
                                                                                     §341(a) Meeting Date:        05/07/08
Period Ending: 06/30/18                                                              Claims Bar Date:             11/25/08

                               1                                       2                        3                      4            5                   6

                    Asset Description                               Petition/          Estimated Net Value         Property     Sale/Funds         Asset Fully
         (Scheduled And Unscheduled (u) Property)                 Unscheduled     (Value Determined By Trustee,   Abandoned     Received by     Administered (FA)/
                                                                     Values          Less Liens, Exemptions,      OA=§554(a)     the Estate      Gross Value of
Ref. #                                                                                   and Other Costs)                                       Remaining Assets

 1       5/3 BANK BUSINESS BASIC CHECKING ACCOUNT                          0.00                          0.00                            0.00                   FA
         NO. 583

 2       REGIONS BANK COMMERCIAL CHECKING                                  0.00                     11,139.91                       11,139.91                   FA
         ACCOUNT PAYROLL

 3       TERM LIFE INSURANCE POLICY INSURED:                               0.00                          0.00                            0.00                   FA
         WILLIAM HERB

 4       ACCOUNTS RECEIVABLE (Scheduled)                              92,293.52                      4,700.00                        4,700.00                   FA
          Total = $398,474.07; Likely Collectible = $92,293.52
         See attached breakdown attached as Exhibit A to
         Schedule B filed on 04/02/08 (Docket Entry 15)


         Demand letters sent out to collect ARs. Trustee
         received payment from Cashco Marketing and
         Distribution (scheduled as Gerald Allen). Trustee
         determined that remaining ARs are either uncollectible
         or filed lawsuits to collect. Abandon uncollected ARs.

 5       DEBTOR V. KEYMARK FUND RAISING, INC.,                         Unknown                           0.00                            0.00                   FA
         MICHAEL F.

 6       DEBTOR V. JESS CONDRA - AGREED JUDGMENT                       Unknown                           0.00                            0.00                   FA
         ENTERED

 7       DEBTOR V. INTELOMETRY - TRYING TO REACH                       Unknown                  450,000.00                         450,000.00                   FA
         SETTLEME

 8       DEBTOR V. US EXPRESS LEASING - LAWSUIT                        Unknown                           0.00                            0.00                   FA
         PENDING.

 9       TRADEMARK "FRIENDS TO KIDS" REGISTER NO.                          0.00                          0.00                            0.00                   FA
         2,391,6

10       DOMAIN NAMES: WWW.4 MAGSONLINE.COM;                               0.00                          0.00                            0.00                   FA
         WWW.4 MYCOLL

11       IN DEBTOR'S POSSESSION, CERTAIN                                   0.00                          0.00                            0.00                   FA
         COMPILATIONS SUC

12       1998 FORD 1 FD VIN 1 FDWE 37 LXWHA 88641                      1,500.00                      3,000.00                        3,000.00                   FA
         MILEAGE

13       2000 INTERNATIONAL 4900 VIN 1 HTSDAAL 4 YH                    5,000.00                      6,500.00                        6,500.00                   FA
         29707

14       MISC. OFFICE EQUIPMENT, FURNISHINGS,                         89,540.00                     95,000.00                       95,000.00                   FA
         SUPPLIES AN
                 Case 3:08-bk-01429                        Doc 331     Filed 07/16/18 Entered 07/16/18 17:26:24 Desc Main
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                                           Individual Estate Property Record and Report
                                                            Asset Cases
Case Number: 308-01429 MFH                                                            Trustee:         (620530)    SUSAN R. LIMOR, TRUSTEE
Case Name:        GENESIS, INC., A TENNESSEE CORPORAT                                 Filed (f) or Converted (c): 02/21/08 (f)
                                                                                      §341(a) Meeting Date:        05/07/08
Period Ending: 06/30/18                                                               Claims Bar Date:             11/25/08

                               1                                       2                         3                      4            5                    6

                    Asset Description                              Petition/            Estimated Net Value         Property     Sale/Funds          Asset Fully
         (Scheduled And Unscheduled (u) Property)                Unscheduled       (Value Determined By Trustee,   Abandoned     Received by      Administered (FA)/
                                                                    Values            Less Liens, Exemptions,      OA=§554(a)     the Estate       Gross Value of
Ref. #                                                                                    and Other Costs)                                        Remaining Assets

15       MISC. MACHINERY, FIXTURES, EQUIPMENT SEE                      19,730.00                          0.00                             0.00                   FA
         ATTACHE

16       INVENTORY LOCATED IN PRINCIPAL PLACE OF                        3,905.96                      3,500.00                        3,500.00                    FA
         BUSINESS

17       Post-Petition Interest Deposits (u)                                0.00                       547.63                            547.63                   FA

18       GENESIS NORTH BANK ACCOUNT (u)                                     0.00                       761.98                            761.98                   FA

19       NEOPOST SYSTEM (u)                                             5,000.00                          0.00        OA                   0.00                   FA
           07/02/08 - Agreed Order Resolving Motion For Relief
         From Stay ENTERED. Ordered Abandoned.

20       REFUNDS (u)                                                        0.00                      1,288.92                        1,288.92                    FA
           REFUNDS RECEIVED FROM VARIOUS DEPOSITS
         AND/OR OVERPAYMENTS

21       Limor v. American Express (Adv. No. 3:10-ap-0007              Unknown                   168,500.00                         168,500.00                    FA
           Payments made to non-consumer debts within 90
         days of filing bankruptcy disclosed on Statement of
         Financial Affairs No. 3b. See Doc Entry 15.


         Fraudulent Transfers Complaint filed against American
         Express on 02/19/10. Settled for $168,500.00. See
         Motion to Approve Compromise and Settlement filed
         08/03/12 (Doc 39) and Order granting Motion entered
         09/12/12 (Doc 41). Funds received. FA.

22       VOID (u)                                                      Unknown                            0.00                             0.00                   FA

23       GENESIS, INC. MAGAZINE DISBURSEMENT ACCT                           0.00                          5.13                             5.13                   FA
         (u)

24       Limor v. American Express, et al (Adv. No. 10-77              Unknown                       43,324.51                       43,324.51                    FA
           Payments made to non-consumer debts within 90
         days of filing bankruptcy disclosed on Statement of
         Financial Affairs No. 3b. See Doc Entry 15.


         Preferential/Fraudulent Transfers Complaint filed
         against 15 Defendants on 02/19/10
         01. American Express - Included in Settlement with
         Adv. No. 10-00076. FA.
         02. BSM Enterprise, Ltd - Dismissed from adversary
         per Order entered 06/17/11 (Doc 91). FA.
         03. Carr, Riggs & Ingram LLC - Settled for $3,600.00
               Case 3:08-bk-01429                            Doc 331    Filed 07/16/18 Entered 07/16/18 17:26:24 Desc Main
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                                             Individual Estate Property Record and Report
                                                              Asset Cases
Case Number: 308-01429 MFH                                                           Trustee:       (620530)      SUSAN R. LIMOR, TRUSTEE
Case Name:        GENESIS, INC., A TENNESSEE CORPORAT                                Filed (f) or Converted (c): 02/21/08 (f)
                                                                                     §341(a) Meeting Date:        05/07/08
Period Ending: 06/30/18                                                              Claims Bar Date:             11/25/08

                                 1                                        2                     3                      4            5                 6

                    Asset Description                                 Petition/        Estimated Net Value         Property     Sale/Funds       Asset Fully
         (Scheduled And Unscheduled (u) Property)                   Unscheduled   (Value Determined By Trustee,   Abandoned     Received by   Administered (FA)/
                                                                       Values        Less Liens, Exemptions,      OA=§554(a)     the Estate    Gross Value of
Ref. #                                                                                   and Other Costs)                                     Remaining Assets

         per Order entered 09/02/10 (Doc 60). Funds received.
         FA.
         04. DHL Global Mail - Default for Plaintiff awarded in
         the amount of $12,539.87 per Order entered 06/02/10
         (Doc 53). Special Counsel attempted to collect. Due
         to the amount, burdensome to continue spending $$ to
         attempt to collect. Asset abandoned 08/11/16. FA.
         05. Gigafunds, Inc. - Dismissed per Stipulation of
         Dismissal filed 10/26/158 (Doc 185 in Case
         3:10-ap-00077). FA.
         06. Nashville Computer - Dismissed from adversary
         per Order entered 05/05/10 (Doc 44). FA.
         07. Nashville Electric Service - Settled for $8,000.00
         per Order entered 09/02/10 (Doc 60). Funds received.
         FA.
         08. Nuvox Communications - Settled for $5k per Order
         entered 10/23/15 (Doc 183). Funds received. FA.
         09. Piedmont Natural Gas Company, Inc. - Settled for
         $6,250.00 per Order entered 11/23/10 (Doc Entry 73).
         Funds received. FA.
         10. Pine River Pre-Pack, Inc. - Settled for $1,634.55
         per Order entered 08/21/15 (Doc 209 in Case
         3:10-ap-00087). Funds received. FA.
         11. Prologistix - Settled for $540.00 per Order entered
         11/23/10 (Doc 72). Funds received. FA.
         12. SOS Linotype & Printing, LLC - Settled for
         $3,749.96 per Order entered 09/15/14 (Doc 167).
         Funds received. FA.
         13. Springtime Cleaning Service - Settled for
         $2,000.00 per Order entered 08/21/15 (Doc 209 in
         Case 3:10-ap-00087). Funds received. FA.
         14. United Healthcare Insurance Company - Settled
         for $9,750.00. See Order entered 09/12/12 (Doc 125).
         Funds received. FA.
         15. United Parcel Service - Settled for $2,800.00 per
         Order entered 11/23/10 (Doc Entry 73). Funds
         received. FA.


         07/27/12 - Status Update for Annual Reports for Period
         Ended June 30, 2012:
         1. Trustee is still attempting to collect on default
                Case 3:08-bk-01429                              Doc 331    Filed 07/16/18 Entered 07/16/18 17:26:24 Desc Main
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                                             Individual Estate Property Record and Report
                                                              Asset Cases
Case Number: 308-01429 MFH                                                           Trustee:       (620530)      SUSAN R. LIMOR, TRUSTEE
Case Name:        GENESIS, INC., A TENNESSEE CORPORAT                                Filed (f) or Converted (c): 02/21/08 (f)
                                                                                     §341(a) Meeting Date:        05/07/08
Period Ending: 06/30/18                                                              Claims Bar Date:             11/25/08

                                 1                                        2                     3                      4            5                 6

                    Asset Description                                 Petition/        Estimated Net Value         Property     Sale/Funds       Asset Fully
         (Scheduled And Unscheduled (u) Property)                   Unscheduled   (Value Determined By Trustee,   Abandoned     Received by   Administered (FA)/
                                                                       Values        Less Liens, Exemptions,      OA=§554(a)     the Estate    Gross Value of
Ref. #                                                                                   and Other Costs)                                     Remaining Assets

         judgments against DHL Global Mail, Nuvox
         Communications, Pine River Pre-Pack, Inc. and
         Springtime Cleaning Services. Total value of
         judgments = $36,972.66
         2. Litigate/settle lawsuit against Gigafunds, Inc. and
         Linotype & Printing, LLC. Value unknown at this time;
         therefore, Trustee has assigned a value of $1.00.


         07/29/13 - Status Update for Annual Reports for Period
         Ended June 30, 2013:
         1. Trustee is still attempting to collect on default
         judgments against DHL Global Mail ($12,539.87),
         Nuvox Communications ($14,123.69), and Springtime
         Cleaning Services ($7,040.00). Total value of
         judgments = $33,703.56.
         2. File appropriate pleading to approve settlement with
         Pine River Pre-Pack, Inc.
         3. Litigate/settle lawsuit against Gigafunds, Inc. and
         SOS Linotype & Printing, LLC. Value unknown at this
         time; therefore, Trustee has assigned a value of $1.00.


         07/29/14 - Status Update for Annual Reports for Period
         Ended June 30, 2014: Trustee has employed Special
         Counsel to litigate/settle lawsuit against remaining
         Defendants (Gigafunds & SOS Linotype & Printing)
         and attempt to collect on the default judgments against
         DHL Global Mail, Nuvox Communications & Springtime
         Cleaning. Value of asset has not changed since
         07/29/13 status update.


         07/13/15 - Status Update for Annual Reports for Period
         Ended June 30, 2015:
         1. Attempt to collect defaults against DHL Global Mail,
         Nuvox Communications & Springtime Cleaning. Value
         = $33,703.56.
         2. File appropriate pleading to approve settlement with
         Pine River Pre-Pack, Inc. Filed 07.27.15.
         3. Collect final payment from SOS Linotype & Printing,
         LLC. Value = $270.83.
         4. Litigate/settle against Gigafunds. Value unknown at
         this time; therefore, Trustee has assigned a value of
                Case 3:08-bk-01429                              Doc 331    Filed 07/16/18 Entered 07/16/18 17:26:24 Desc Main
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                                            Individual Estate Property Record and Report
                                                             Asset Cases
Case Number: 308-01429 MFH                                                             Trustee:         (620530)    SUSAN R. LIMOR, TRUSTEE
Case Name:         GENESIS, INC., A TENNESSEE CORPORAT                                 Filed (f) or Converted (c): 02/21/08 (f)
                                                                                       §341(a) Meeting Date:        05/07/08
Period Ending: 06/30/18                                                                Claims Bar Date:             11/25/08

                                1                                        2                        3                      4            5                   6

                    Asset Description                                 Petition/          Estimated Net Value         Property     Sale/Funds         Asset Fully
         (Scheduled And Unscheduled (u) Property)                   Unscheduled     (Value Determined By Trustee,   Abandoned     Received by     Administered (FA)/
                                                                       Values          Less Liens, Exemptions,      OA=§554(a)     the Estate      Gross Value of
Ref. #                                                                                     and Other Costs)                                       Remaining Assets

         $1.00.


         07/27/16 - Status Update for Annual Reports for Period
         Ended June 30, 2016:
         1. Attempt to collect default against DHL Global Mail.
         Value = $12,539.87.


         08/11/16 - Special Counsel attempted to collect on
         default judgments (and was successful on some).
         Remaining judgments deemed uncollectible and/or
         burdensome to pursue collection attempts. Therefore,
         deemed abandoned by Trustee.

25       Limor v. Branch Banking & Trust Company, et al (u)                  0.00                     27,000.00                       27,000.00                   FA
          Preferential/Fraudulent Transfers Complaint filed
         against 3 Defendants on 02/20/10 - Adv. No.
         3:10-ap-00085
         1. Branch Banking & Trust Company - Settled for $12k
         per Order Approving Settlement with Defendant
         Branch Banking and Trust Company entered 08/10/15
         (Doc 110 in Case 3:10-ap-00085). Funds received.
         FA.
         2. Instream LLC - Settled for $15k per Agreed Order
         entered 04/24/13 (Doc 72). Funds received. FA.
         3. John Doe - Dismissed per Notice of Voluntary
         Dismissal filed 10/26/15 (Doc 112 in Case
         3:10-ap-00085).


         07/27/12 - Status Update for Annual Reports for Period
         Ended June 30, 2012: Litigate/settle lawsuit against all
         three defendants. Value unknown at this time;
         therefore, Trustee has assigned a value of $1.00.


         07/29/13 - Status Update for Annual Reports for Period
         Ended June 30, 2013: Litigate/settle lawsuit against
         remaining two defendants. Value unknown at this
         time; therefore, Trustee has assigned a value of $1.00.


         07/29/14 - Status Update for Annual Reports for Period
         Ended June 30, 2014: Trustee has employed Special
         Counsel to litigate/settle lawsuit against remaining

                  Case 3:08-bk-01429                       Doc 331       Filed 07/16/18 Entered 07/16/18 17:26:24 Desc Main
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                                            Individual Estate Property Record and Report
                                                             Asset Cases
Case Number: 308-01429 MFH                                                           Trustee:         (620530)    SUSAN R. LIMOR, TRUSTEE
Case Name:        GENESIS, INC., A TENNESSEE CORPORAT                                Filed (f) or Converted (c): 02/21/08 (f)
                                                                                     §341(a) Meeting Date:        05/07/08
Period Ending: 06/30/18                                                              Claims Bar Date:             11/25/08

                                1                                      2                        3                      4            5                   6

                    Asset Description                               Petition/          Estimated Net Value         Property     Sale/Funds         Asset Fully
         (Scheduled And Unscheduled (u) Property)                 Unscheduled     (Value Determined By Trustee,   Abandoned     Received by     Administered (FA)/
                                                                     Values          Less Liens, Exemptions,      OA=§554(a)     the Estate      Gross Value of
Ref. #                                                                                   and Other Costs)                                       Remaining Assets

         Defendant (BB&T). Value of asset has not changed
         since 07/29/13 status update.


         07/13/15 - Status Update for Annual Reports for Period
         Ended June 30, 2015:
         1. Finalize settlement with BB&T. Value = $12k


         Asset fully administered.

26       Limor v. Dennis Bosio, et al (Adv No. 10-86) (u)                  0.00                     94,500.00                       94,500.00                   FA
          Preferential/Fraudulent Transfers Complaint filed
         against 5 Defendants on 02/21/10.
         1. Dennis Bosio - Settled for $82,500.00 per Order
         Approving Compromise and Settlement with Defendant
         Dennis Bosio entered 07/23/15 (Doc 197 in Case
         3:10-ap-00087). Funds rcvd 08.07.15. FA.
         2. Jeff Maiers - Settled for $12k per Order Approving
         Settlement with Defendant Jeff Maiers entered
         08/10/15 (Doc 204 in Case 3:10-ap-00087). Funds
         rcvd 08.21.15. FA.
         3. Robert Walker - Dismissed from adversary per
         Order entered 04/29/10 (Doc 18). FA.
         4. Frozen Foods - Dismissed from adversary per
         Order entered 04/29/10 (Doc 17). FA.
         5. John Doe - Dismissed per Notice of Voluntary
         Dismissal filed 10/26/15 (Doc 115 in Case
         3:10-ap-00086).


         07/27/12 - Status Update for Annual Reports for Period
         Ended June 30, 2012:
         1. Litigate/settle lawsuit against Dennis Bosio, Jeff
         Maiers and John Doe. Value unknown at this time;
         therefore, Trustee has assigned a value of $1.00.


         07/29/13 - Status Update for Annual Reports for Period
         Ended June 30, 2013:
         1. Litigate/settle lawsuit against Dennis Bosio, Jeff
         Maiers and John Doe. Value unknown at this time;
         therefore, Trustee has assigned a value of $1.00.


         07/29/14 - Status Update for Annual Reports for Period

                Case 3:08-bk-01429                          Doc 331    Filed 07/16/18 Entered 07/16/18 17:26:24 Desc Main
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                                            Individual Estate Property Record and Report
                                                             Asset Cases
Case Number: 308-01429 MFH                                                           Trustee:         (620530)    SUSAN R. LIMOR, TRUSTEE
Case Name:        GENESIS, INC., A TENNESSEE CORPORAT                                Filed (f) or Converted (c): 02/21/08 (f)
                                                                                     §341(a) Meeting Date:        05/07/08
Period Ending: 06/30/18                                                              Claims Bar Date:             11/25/08

                                1                                      2                        3                      4            5                   6

                    Asset Description                               Petition/          Estimated Net Value         Property     Sale/Funds         Asset Fully
         (Scheduled And Unscheduled (u) Property)                 Unscheduled     (Value Determined By Trustee,   Abandoned     Received by     Administered (FA)/
                                                                     Values          Less Liens, Exemptions,      OA=§554(a)     the Estate      Gross Value of
Ref. #                                                                                   and Other Costs)                                       Remaining Assets

         Ended June 30, 2014: Trustee has employed Special
         Counsel to litigate/settle lawsuit against remaining
         Defendants (Dennis Bosio and Jeff Maiers). Value of
         asset has not changed since 07/29/13.


         07/13/15 - Status Update for Annual Reports for Period
         Ended June 30, 2015:
         1. Finalize settlement with Maiers. Value = $12k
         2. Finalize settlement with Bosio. Value = $82,500.00


         08/21/15 - Asset fully administered.


27       Limor v. Dennis Burkett,et al (Adv No. 10-87) (u)                 0.00                     34,331.85                       34,331.85                   FA
          Preferential/Fraudulent Transfers Complaint filed
         against 19 Defendants on 02/21/10
         01. Dennis Burkett - Dismissed per Notice of
         Dismissal filed 12/09/15 (Doc 230 in Case
         3:10-ap-00087). FA.
         02. Nate Doggett - Settled for $24,500.00 per Order
         Approving Settlement with Nate Doggett entered
         11/13/15 (Doc 229 in Case 3:10-ap-00087). Final
         payment received 07/05/16. FA.
         03. Keith Ellenson - Settled for $3,500.55 per Order
         Approving Settlements with Certain Defendants
         entered 09/22/15 (Doc 219 in Case 3:10-ap-00087).
         Funds received 10/12/15. FA.
         04. Fred Ides - Dismissed per Stipulation and Notice
         of Dismissal filed 10/26/15 (Doc 224 in Case
         3:10-ap-00087). FA.
         05. Steve McCulloch - Dismissed per Stipulation and
         Notice of Dismissal filed 10/26/15 (Doc 224 in Case
         3:10-ap-00087). FA.
         06. Andy Newton - Dismissed per Stipulation and
         Notice of Dismissal filed 10/26/15 (Doc 224 in Case
         3:10-ap-00087). FA.
         07. Ken Fuhr - Dismissed per Stipulation and Notice of
         Dismissal filed 10/26/15 (Doc 224 in Case
         3:10-ap-00087). FA.
         08. Greg Waczak - Dismissed per Stipulation and
         Notice of Dismissal filed 10/26/15 (Doc 224 in Case

                Case 3:08-bk-01429                         Doc 331     Filed 07/16/18 Entered 07/16/18 17:26:24 Desc Main
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                                            Individual Estate Property Record and Report
                                                             Asset Cases
Case Number: 308-01429 MFH                                                          Trustee:       (620530)      SUSAN R. LIMOR, TRUSTEE
Case Name:        GENESIS, INC., A TENNESSEE CORPORAT                               Filed (f) or Converted (c): 02/21/08 (f)
                                                                                    §341(a) Meeting Date:        05/07/08
Period Ending: 06/30/18                                                             Claims Bar Date:             11/25/08

                                1                                       2                      3                      4            5                 6

                    Asset Description                                Petition/        Estimated Net Value         Property     Sale/Funds       Asset Fully
         (Scheduled And Unscheduled (u) Property)                  Unscheduled   (Value Determined By Trustee,   Abandoned     Received by   Administered (FA)/
                                                                      Values        Less Liens, Exemptions,      OA=§554(a)     the Estate    Gross Value of
Ref. #                                                                                  and Other Costs)                                     Remaining Assets

         3:10-ap-00087). FA.
         09. Perry Campbell - Dismissed per Order entered
         01/23/13 (Doc 121). However, Defendant filed chp 7
         bankruptcy and received distribution from his
         bankruptcy in the amount of $1,778.18. FA.
         10. Craig Carlson - Dismissed per Order entered
         10/09/12 (Doc 112). FA.
         11. Dan Doerfling - Settled for $1,554.12 per Order
         Approving Settlements with Certain Defendants
         entered 09/22/15 (Doc 219 in Case 3:10-ap-00087).
         Funds received 09/30/15. FA.
         12. Paul Heilman - Default for Plaintiff awarded in the
         amount of $3,970.62 per Order entered 10/05/11 (Doc
         84). Special Counsel attempted to collect. Deemed
         uncollectible. Asset abandoned 08/11/16. FA.
         13. Bruce Lambardi - Dismissed per Stipulation and
         Notice of Dismissal filed 10/26/15 (Doc 224 in Case
         3:10-ap-00087). FA.
         14. Bob Miller - Default for Plaintiff awarded in the
         amount of $13,337.10 per Order entered 10/05/11
         (Doc 85). Special Counsel attempted to collect.
         Deemed uncollectible. Asset abandoned 08/11/16.
         FA.
         15. Dale Silverman - Settled for $3k per Order
         Approving Settlements with Certain Defendants
         entered 09/22/15 (Doc 219 in Case 3:10-ap-00087).
         Funds received 09/30/15. FA.
         16. Joe Poteat - Default for Plaintiff awarded in the
         amount of $9,220.81 per Order entered 10/05/11 (Doc
         83). Special Counsel attempted to collect. Deemed
         uncollectible. Asset abandoned 08/11/16. FA.
         17. Mike Purvis - Default for Plaintiff awarded in the
         amount of $8,436.62 per Order entered 10/05/11 (Doc
         81). Special Counsel attempted to collect. Deemed
         uncollectible. Asset abandoned 08/11/16. FA.
         18. Brad Sellers - Default for Plaintiff awarded in the
         amount of $28,457.48 per Order entered 10/05/11
         (Doc 82). Special Counsel attempted to collect.
         Deemed uncollectible. Asset abandoned 08/11/16.
         FA.
         19. John Doe - Dismissed per Stipulation and Notice
                Case 3:08-bk-01429                          Doc 331     Filed 07/16/18 Entered 07/16/18 17:26:24 Desc Main
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                                            Individual Estate Property Record and Report
                                                             Asset Cases
Case Number: 308-01429 MFH                                                         Trustee:       (620530)      SUSAN R. LIMOR, TRUSTEE
Case Name:        GENESIS, INC., A TENNESSEE CORPORAT                              Filed (f) or Converted (c): 02/21/08 (f)
                                                                                   §341(a) Meeting Date:        05/07/08
Period Ending: 06/30/18                                                            Claims Bar Date:             11/25/08

                                1                                      2                      3                      4            5                 6

                    Asset Description                               Petition/        Estimated Net Value         Property     Sale/Funds       Asset Fully
         (Scheduled And Unscheduled (u) Property)                 Unscheduled   (Value Determined By Trustee,   Abandoned     Received by   Administered (FA)/
                                                                     Values        Less Liens, Exemptions,      OA=§554(a)     the Estate    Gross Value of
Ref. #                                                                                 and Other Costs)                                     Remaining Assets

         of Dismissal filed 10/26/15 (Doc 224 in Case
         3:10-ap-00087). FA.


         07/27/12 - Status Update for Annual Reports for Period
         Ended June 30, 2012:
         1. Trustee is attempting to collect on default
         judgments against Heilman, Miller, Poteat, Purvis and
         Sellers. Total value of judgments = $63,422.63
         2. Litigate/settle lawsuit against Burkett, Doggett,
         Ellenson, Ides, McCulloch, Newton, Fuhr, Waczak,
         Campbell, Doerfling, Lambardi, Silverman and Doe.
         Value unknown at this time; therefore, Trustee has
         assigned a value of $1.00.


         07/29/13 - Status Update for Annual Reports for Period
         Ended June 30, 2013:
         1. Trustee is attempting to collect on default
         judgments against Heilman, Miller, Poteat, Purvis and
         Sellers. Total value of judgments = $63,422.63
         2. Litigate/settle lawsuit against Burkett, Doggett,
         Ellenson, Ides, McCulloch, Newton, Fuhr, Waczak,
         Doerfling, Lambardi, Silverman and Doe. Value
         unknown at this time; therefore, Trustee has assigned
         a value of $1.00.


         07/29/14 - Status Update for Annual Reports for Period
         Ended June 30, 2014: Trustee has employed Special
         Counsel to litigate/settle lawsuit against remaining
         Defendants (Burkett, Doggett, Ellenson, Ides,
         McCulloch, Newton, Fuhr, Waczak, Doerfling,
         Lambardi, Silverman) and attempt to collect on the
         default judgments against Heilman, Miller, Poteat,
         Purvis and Sellers. Value of asset has not changed
         since 07/29/13 status update.


         07/13/15 - Status Update for Annual Reports for Period
         Ended June 30, 2015:
         1. Trustee is attempting to collect on default
         judgments against Heilman, Miller, Poteat, Purvis and
         Sellers. Total value of judgments = $63,422.63
         2. Litigate/settle lawsuit against Burkett, Doggett,
                Case 3:08-bk-01429                          Doc 331    Filed 07/16/18 Entered 07/16/18 17:26:24 Desc Main
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                                            Individual Estate Property Record and Report
                                                             Asset Cases
Case Number: 308-01429 MFH                                                           Trustee:       (620530)      SUSAN R. LIMOR, TRUSTEE
Case Name:        GENESIS, INC., A TENNESSEE CORPORAT                                Filed (f) or Converted (c): 02/21/08 (f)
                                                                                     §341(a) Meeting Date:        05/07/08
Period Ending: 06/30/18                                                              Claims Bar Date:             11/25/08

                                1                                      2                        3                      4            5                   6

                    Asset Description                               Petition/          Estimated Net Value         Property     Sale/Funds         Asset Fully
         (Scheduled And Unscheduled (u) Property)                 Unscheduled     (Value Determined By Trustee,   Abandoned     Received by     Administered (FA)/
                                                                     Values          Less Liens, Exemptions,      OA=§554(a)     the Estate      Gross Value of
Ref. #                                                                                   and Other Costs)                                       Remaining Assets

         Ellenson, Ides, McCulloch, Newton, Fuhr, Waczak,
         Doerfling, Lambardi, Silverman and Doe. Value
         unknown at this time; therefore, Trustee has assigned
         a value of $1.00.


         07/27/16 - Status Update for Annual Reports for Period
         Ended June 30, 2016:
         1. Trustee is attempting to collect on default
         judgments against Heilman, Miller, Poteat, Purvis and
         Sellers. Total value of judgments = $63,422.63


         08/11/16 - Special Counsel attempted to collect on
         default judgments (and was successful on some).
         Remaining judgments deemed uncollectible and/or
         burdensome to pursue collection attempts. Therefore,
         deemed abandoned by Trustee.

28       Limor v. Suntrust Bank, et al (Adv. No. 10-88) (u)                0.00                 265,000.00                         265,000.00                   FA
          Preferential/Fraudulent Transfers Complaint filed
         against 8 Defendants on 02/21/10
         1. SunTrust Bank - Settled for $60,000.00. See Order
         entered 09/12/12 (Doc 79). FA
         2. First National Bank - Settled for $5k. See Order
         entered 04/06/15 (Doc 184 in Case 3:10-ap-00087).
         Funds received 07/24/15. FA.
         3. Bank of America - Settled for $50k. See Order
         entered 03/31/14 (Doc 180 in Case No. 08-01429). FA
         4. Tennessee Commerce Bank - Dismissed. See
         Notice of Voluntary Dismissal of Party filed 12/12/14
         (Doc 124). FA
         5. Regions Mortgage - Settled for subordination of
         Claim No. 20-1, in the amount of $2,889,098.00, to all
         admin, priority, and other unsecured claims. See
         Order entered 08/15/12 (Doc 74). FA
         6. Regions Bank - Included in Regions Mortgage
         Settlement. See Order entered 08/15/12 (Doc 74). FA
         7. Therese Tlapek - Settled for $150k. See Order
         entered 04/23/15 (Doc 254 in Case No. 08-01429).
         Last payment received 04.05.17. FA.
         8. John Doe - Dismissed per Notice of Dismissal filed
         10/26/15 (Doc 130 in Case 3:10-ap-00088). FA.

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                                            Individual Estate Property Record and Report
                                                             Asset Cases
Case Number: 308-01429 MFH                                                             Trustee:         (620530)    SUSAN R. LIMOR, TRUSTEE
Case Name:        GENESIS, INC., A TENNESSEE CORPORAT                                  Filed (f) or Converted (c): 02/21/08 (f)
                                                                                       §341(a) Meeting Date:        05/07/08
Period Ending: 06/30/18                                                                Claims Bar Date:             11/25/08

                                1                                        2                        3                      4            5                   6

                    Asset Description                                 Petition/          Estimated Net Value         Property     Sale/Funds         Asset Fully
         (Scheduled And Unscheduled (u) Property)                   Unscheduled     (Value Determined By Trustee,   Abandoned     Received by     Administered (FA)/
                                                                       Values          Less Liens, Exemptions,      OA=§554(a)     the Estate      Gross Value of
Ref. #                                                                                     and Other Costs)                                       Remaining Assets


         07/27/12 - Status Update for Annual Reports for Period
         Ended June 30, 2012: Litigate/settle lawsuit against all
         Defendants. Value unknown at this time; therefore,
         Trustee has assigned a value of $1.00.


         07/29/13 - Status Update for Annual Reports for Period
         Ended June 30, 2013: Litigate/settle lawsuit against
         remaining Defendants. Value unknown at this time;
         therefore, Trustee has assigned a value of $1.00.


         07/29/14 - Status Update for Annual Reports for Period
         Ended June 30, 2014: Trustee has employed Special
         Counsel to litigate/settle lawsuit against remaining
         Defendants (First National Bank, Tennessee
         Commerce Bank & Therese Tlapek). Value of asset
         has not changed since 07/29/13 status update.


         07/13/15 - Status Update for Annual Reports for Period
         Ended June 30, 2015:
         1. Collect $5k from First National Bank. Value = $5k.
         2. Collect remaining balance from Tlapek. Value =
         $65,625.00.


         07/27/16 - Status Update for Annual Reports for Period
         Ended June 30, 2016:
         1. Collect remaining balance from Tlapek. Value =
         $28,125.00.


         04/05/17 - Last payment received. Asset fully
         administered.


29       ACCOUNTS RECEIVABLE (Unscheduled) (u)                               0.00                     25,956.18                       25,956.18                   FA
          Trustee changed mailing address with post office
         when appointed to receive Debtor's mail. In doing so,
         Trustee received checks on accounts receivables that
         were not scheduled. Such checks include payments
         from St. Margaret of York PTO, St Charles Community
         Schools, Spectrum Reading Company, LLC; St. Johns
         Middle School & Time Inc. Shared Services.

                Case 3:08-bk-01429                         Doc 331 Filed 07/16/18 Entered 07/16/18 17:26:24 Desc Main
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                                            Individual Estate Property Record and Report
                                                             Asset Cases
Case Number: 308-01429 MFH                                                                     Trustee:       (620530)          SUSAN R. LIMOR, TRUSTEE
Case Name:         GENESIS, INC., A TENNESSEE CORPORAT                                         Filed (f) or Converted (c): 02/21/08 (f)
                                                                                               §341(a) Meeting Date:            05/07/08
Period Ending: 06/30/18                                                                        Claims Bar Date:                 11/25/08

                                1                                             2                           3                          4                   5                     6

                     Asset Description                                   Petition/              Estimated Net Value              Property          Sale/Funds            Asset Fully
          (Scheduled And Unscheduled (u) Property)                     Unscheduled         (Value Determined By Trustee,        Abandoned          Received by        Administered (FA)/
                                                                          Values              Less Liens, Exemptions,           OA=§554(a)          the Estate         Gross Value of
Ref. #                                                                                            and Other Costs)                                                    Remaining Assets

30        Bank Errors/Clerical Errors (u)                                          0.00                          0.00                                        45.00                      FA

 30      Assets      Totals (Excluding unknown values)                     $216,969.48                 $1,235,056.11                                $1,235,101.11                    $0.00



      Major Activities Affecting Case Closing:

                  THE TRUSTEE IS INVESTIGATING PAYMENTS AND EVALUATING THE LAWSUITS. THE MAJORITY OF THE BUSINESS ASSETS HAVE BEEN SOLD.
                  THE TRUSTEE AND HER ACCOUNTANT HAVE BEEN REVIEWING THE DEBTOR'S RECORDS AND ARE PREPARING TO FILE LAWSUITS RE PREFERENTIAL
                  AND FRAUDULENT TRANSFERS. THE TRUSTEE HAS TERMINATED THE BENEFIT PLAN.


                  THE TRUSTEE HAS SETTLED THE INTELOMETRY LAWSUIT.
                  THE TRUSTEE HAS FILED MULTIPLE PREFERENCE AND/OR FRAUDULENT CONVEYANCE LAWSUITS IN THIS CASE. THE PRETRIAL CONFERENCES FOR
                  THESE COMPLAINTS IS SET FOR JULY 19, 2010. THE TRUSTEE HAS ALSO FILED A DISCHARGE COMPLAINT AGAINST WILLIAM H. OWENS, JR, THE
                  PRINCIPAL OF GENESIS IN MR. OWENS' CHAPTER 11 CASE.
                  SOME COMPROMISES AND DEFAULTS HAVE BEEN ENTERED. THE TRUSTEE IS ANTICIPATING TRIALS WITH DEFENDENTS WHO DO NOT SETTLE IN
                  EARLY SUMMER OF 2011.


                  TRIALS HAVE NOT YET BEEN SET IN ANTICIPATION OF RESOLVING THE ADVERSARY CASES WITHOUT FURTHER LITIGATION. THE TRUSTEE AND
                  WILLIAM H. OWENS, JR. HAVE EMPLOYED AN ACCOUNTANT TO ASSIST IN MEDIATING TO RESOLVE THE TRUSTEE'S DISCHARGE ACTION AGAINST MR.
                  OWENS.


                  07/27/12 - Status Update for Annual Reports for Period Ended June 30, 2012:
                  1. Settle/litigate remaining defendants in adversary proceedings. (24 total; not including "John Doe")
                  2. Attempt to collect on default judgments already awarded to Plaintiff in adversary proceedings. (9 total)
                  3. Accountant to file final tax returns when all assets are fully administered.
                  4. File appropriate Applications for compensation for professionals
                  5. CLOSE CASE


                  07/30/13 - Status Update for Annual Reports for Period Ended June 30, 2013:
                  1. Settle/litigate remaining defendants in adversary proceedings. (20 total; not including "John Doe")
                  2. Attempt to collect on default judgments already awarded to Plaintiff in adversary proceedings. (8 total)
                  3. Accountant to file final tax returns when all assets are fully administered.
                  4. File appropriate Applications for compensation for professionals
                  5. CLOSE CASE



                  07/30/14 - Status Update for Annual Reports for Period Ended June 30, 2014: Trustee filed a Motion to allow/disallow claims. See Trustee's Motion to Allow and
                  Disallow Claims filed 06/04/14 (Doc 189). Such recommendations were approved by Order Approving Trustee's Recommendations entered 007/23/14 (Doc 210).
                  Interim distribution anticipated within next three months. Trustee has also employed Special Counsel to settle/litigate the remaining defendants and attempt to collect on
                  default judgments.
                  1. Settle/litigate remaining defendants in adversary proceedings. (19 total; not including "John Doe")
                 2. Attempt to collect on default judgments already awarded to Plaintiff in adversary proceedings. (8 total)
                Case     3:08-bk-01429 Doc 331 Filed 07/16/18 Entered 07/16/18 17:26:24 Desc Main
                                                                        Document                    Page 12 of 44            Printed: 07/16/2018 05:01 PM V.14.14
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                                           Individual Estate Property Record and Report
                                                            Asset Cases
Case Number: 308-01429 MFH                                                                    Trustee:          (620530)       SUSAN R. LIMOR, TRUSTEE
Case Name:       GENESIS, INC., A TENNESSEE CORPORAT                                          Filed (f) or Converted (c): 02/21/08 (f)
                                                                                              §341(a) Meeting Date:            05/07/08
Period Ending: 06/30/18                                                                       Claims Bar Date:                 11/25/08

                               1                                             2                              3                        4                  5                    6

                    Asset Description                                   Petition/              Estimated Net Value              Property           Sale/Funds           Asset Fully
         (Scheduled And Unscheduled (u) Property)                     Unscheduled         (Value Determined By Trustee,        Abandoned           Received by       Administered (FA)/
                                                                         Values              Less Liens, Exemptions,           OA=§554(a)           the Estate        Gross Value of
Ref. #                                                                                           and Other Costs)                                                    Remaining Assets

                 3. Accountant to file final tax returns when all assets are fully administered.
                 4. File appropriate Applications for compensation for professionals
                 5. CLOSE CASE


                 07/13/15 - Status Update for Annual Reports for Period Ended June 30, 2015:
                 1. Settle/litigate remaining defendants in adversary proceedings. (12 total; not including "John Doe")
                 2. Attempt to collect on default judgments already awarded to Plaintiff in adversary proceedings. (8 total)
                 3. Accountant to file final tax returns when all assets are fully administered.
                 4. File appropriate Applications for compensation for professionals
                 5. CLOSE CASE


                 07/27/16 - Status Update for Annual Reports for Period Ended June 30, 2016:
                 1. Finish collecting $$ from judgment against Tlapek. Rcvd last payment 04.05.17.
                 2. Attempt to collect on default judgments already awarded to Plaintiff in adversary proceedings. (6 total)
                 3. Accountant to file final tax returns when all assets are fully administered.
                 4. File appropriate Applications for compensation for professionals
                 5. CLOSE CASE


                 08/11/16 - Special Counsel attempted to collect on default judgments (and was successful on some). Remaining judgments deemed uncollectible and/or burdensome to
                 pursue collection attempts. Therefore, deemed abandoned by Trustee.


                 07/20/17 - Status Update for Annual Reports for Period Ended June 30, 2017:
                 1. Accountant to file final tax returns. Accountant is currently working on the estate returns.
                 2. File appropriate Applications for compensation for professionals
                 3. CLOSE CASE


                 03/13/18 - Estate tax returns through 12.31.17 filed with IRS & TN Department of Revenue. Request for Prompt Determination letter sent with copies of the returns
                 requesting that the IRS notify the Trustee within 60 days if such returns have been selected for examination per 11 USC Sec. 505(b).


                 07/16/18 - Status Update for Annual Reports for Period Ended June 30, 2018:
                 1. Accountant to file final estate tax return for year ending 12.31.18. Accountant is currently working on the estate return.
                 2. File Application for Compensation for Accountant.
                 3. CLOSE CASE

     Initial Projected Date Of Final Report (TFR):        October 15, 2009                         Current Projected Date Of Final Report (TFR):     June 30, 2019




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                                                     Cash Receipts And Disbursements Record
Case Number:           308-01429 MFH                                                             Trustee:            SUSAN R. LIMOR, TRUSTEE (620530)
Case Name:             GENESIS, INC., A TENNESSEE CORPORAT                                       Bank Name:          Bank of America
                                                                                                 Account:            ******5759 - Money Market Account
Taxpayer ID #:         **-***1030                                                                Blanket Bond:       $720,000.00 (per case limit)
Period Ending: 06/30/18                                                                          Separate Bond: N/A

   1             2                             3                                  4                                              5                      6                     7

 Trans.     {Ref #} /                                                                                                        Receipts            Disbursements          Money Market
  Date      Check #             Paid To / Received From             Description of Transaction              T-Code              $                      $               Account Balance
05/02/08      {14}           SPECTRUM READING COMPANY       SALE OF PROPERTY PER NOTICE OF SALE             1129-000             95,000.00                                    95,000.00
                             LLC                            SALE OF PROPERTY PER NOTICE OF
                                                            MOTION TO SELL FILED MAY 6, 2008, AND
                                                            AGREED ORDER ENTERED RESOLVING
                                                            OBJECTIONS ON JUNE 27, 2008.
05/30/08      {17}           Bank of America                Interest Rate 0.150                             1270-000                    8.88                                  95,008.88
06/30/08      {17}           Bank of America                Interest Rate 0.150                             1270-000                   11.69                                  95,020.57
07/08/08      {16}           SOUTHWESTERN COMPANY           SALE OF PROPERTY PER NOTICE OF SALE             1129-000              3,500.00                                    98,520.57
                                                            SALE OF PROPERTY PER NOTICE OF
                                                            MOTION TO SELL FILED MAY 6, 2008, AND
                                                            AGREED ORDER ENTERED RESOLVING
                                                            OBJECTIONS ON JUNE 27, 2008.
                                                            PROPERTY ABANDONED BY PURCHASER.
07/17/08         {2}         REGIONS BANK                   TURNOVER OF BANK ACCOUNT                        1129-000             11,139.91                                  109,660.48
07/31/08      {17}           Bank of America                Interest Rate 0.150                             1270-000                   12.87                                109,673.35
08/13/08      {18}           FIFTH THIRD BANK               LIQUIDATION OF GENESIS NORTH ACCT               1229-000                 761.98                                 110,435.33
08/20/08       101           JOHN HELDRETH & ASSOCIATES     AGENT FEES AND EXPENSES PURSUANT                2990-000                                        1,163.27        109,272.06
                                                            TO MOTION FOR ADMINISTRATIVE
                                                            EXPENESE FILED 07/15/08 AND ORDER
                                                            ENTERED APPROVING 08/06/08.
08/28/08      {12}           HELDRETH & ASSOCIATES          SALE OF PROPERTY PER NOTICE OF                  1129-000              3,000.00                                  112,272.06
                                                            MOTION TO SELL FILED MAY 6, 2008, AND
                                                            AGREED ORDER ENTERED RESOLVING
                                                            OBJECTIONS ON JUNE 27, 2008.
08/28/08       102           UNITED STATES BANKRUPTCY       CERTIFIED COPIES                                2700-000                                          51.00         112,221.06
                             COURT
08/29/08      {17}           Bank of America                Interest Rate 0.150                             1270-000                   13.99                                112,235.05
09/05/08      {29}           ST MARGARET OF YORK PTO        ACCOUNTS RECEIVABLE                             1221-000                 202.46                                 112,437.51
09/05/08      {20}           USPS ACCOUNTING SERVICE        REFUNDS                                         1290-000                 931.91                                 113,369.42
                             CENTER
09/15/08      {29}           SCHOOLS, ST CHARLES            ACCOUNTS RECEIVABLE                             1221-000              2,250.00                                  115,619.42
                             COMMUNITY
09/30/08      {17}           Bank of America                Interest Rate 0.150                             1270-000                   14.01                                115,633.43
10/31/08      {17}           Bank of America                Interest Rate 0.100                             1270-000                   11.22                                115,644.65
11/20/08      {29}           SPECTRUM READING COMPANY       ACCOUNTS RECEIVABLE                             1221-000             21,500.00                                  137,144.65
                             LLC
11/24/08       103           JOHN HELDRETH & ASSOCIATES     AGENT FEES AND EXPENSES PURSUANT                2990-000                                         300.00         136,844.65
                                                            TO ORDER ENTERED NOVEMBER 5, 2008.
                                                            INVOICE #157
11/28/08      {17}           Bank of America                Interest Rate 0.100                             1270-000                    9.82                                136,854.47
12/31/08      {17}           Bank of America                Interest Rate 0.020                             1270-000                    7.42                                136,861.89
                  Case 3:08-bk-01429                      Doc 331 Filed 07/16/18 Entered 07/16/18 17:26:24 Desc Main
                                                                                Subtotals :   $138,376.16 $1,514.27
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{} Asset reference(s)                                                                                                                          Printed: 07/16/2018 05:01 PM       V.14.14
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                                                   Cash Receipts And Disbursements Record
Case Number:         308-01429 MFH                                                             Trustee:            SUSAN R. LIMOR, TRUSTEE (620530)
Case Name:           GENESIS, INC., A TENNESSEE CORPORAT                                       Bank Name:          Bank of America
                                                                                               Account:            ******5759 - Money Market Account
Taxpayer ID #:       **-***1030                                                                Blanket Bond:       $720,000.00 (per case limit)
Period Ending: 06/30/18                                                                        Separate Bond: N/A

   1             2                           3                                  4                                              5                     6                     7

 Trans.     {Ref #} /                                                                                                      Receipts           Disbursements         Money Market
  Date      Check #           Paid To / Received From             Description of Transaction              T-Code              $                     $              Account Balance
01/21/09                   INTERNATIONAL SURETIES, LTD    BOND 016026373                                  2300-000                                       119.53         136,742.36
01/22/09       104         ADP; Reverses Check # 104      2008 W2 GENESIS INC. 2008 W2-S AND              2990-000                                       355.90         136,386.46
                                                          FINAL FILINGS FOR GENESIS, INC; Stop
                                                          Payment Reversal STOP PAY ADD
                                                          SUCCESSFUL
                                                          Stopped on 02/02/09
01/29/09      {20}         SOVEREIGN MEDIA C INC          REFUND                                          1290-000                   1.13                               136,387.59
01/29/09      {20}         STATE OF NEVADA                REFUND OF OVERPAYMENT OF BOND                   1290-000                 100.00                               136,487.59
01/30/09      {17}         Bank of America                Interest Rate 0.020                             1270-000                   2.32                               136,489.91
02/02/09       104         ADP; Reverses Check # 104      2008 W2 GENESIS INC. 2008 W2-S AND              2990-000                                       -355.90        136,845.81
                                                          FINAL FILINGS FOR GENESIS, INC; Stop
                                                          Payment Reversal STOP PAY ADD
                                                          SUCCESSFUL
                                                          Stopped: check issued on 01/22/09
02/06/09      {29}         SCHOOL, ST JOHNS MIDDLE        ACCOUNTS RECEIVABLE                             1221-000              1,603.72                                138,449.53
02/06/09      {20}         COMICS, DC                     REFUND                                          1290-000                   2.00                               138,451.53
02/12/09      {20}         ARCHEOLOGOICAL INSTITUTE       REFUNDS                                         1290-000                   0.56                               138,452.09
                           OF AMERICA
02/12/09      {20}         LONDON REVIEW OF               REFUND                                          1290-000                   3.37                               138,455.46
                           BOOKS-LNDR
02/12/09      {20}         MAGAZINE-WGWT, WEIGHT          REFUND                                          1290-000                   2.00                               138,457.46
                           WATCHERS
02/26/09      {20}         MCC MAGAZINES LLC              REFUNDS                                         1290-000                   0.37                               138,457.83
02/27/09      {17}         Bank of America                Interest Rate 0.020                             1270-000                   2.11                               138,459.94
03/18/09       105         STATE OF TENNESSEE             FORM FAE 173 2008                               2820-000                                       100.00         138,359.94
03/25/09       106         STATE OF TENNESSEE             COPIES OF CORPORATE DOCUMENTS                   2990-000                                        20.00         138,339.94
03/31/09      {17}         Bank of America                Interest Rate 0.020                             1270-000                   2.36                               138,342.30
04/30/09      {17}         Bank of America                Interest Rate 0.050                             1270-000                   5.69                               138,347.99
05/06/09       107         NASHVILLE COURT REPORTERS      COURT REPORTER FEES FOR 2004                    2990-000                                       856.00         137,491.99
                                                          EXAMINATION OF WILLIAM H OWENS, JR,
                                                          PRESIDENT OF GENESIS
05/12/09      {29}         TIME INC SHARED SERVICES       ACCOUNTS RECEIVABLE                             1221-000                 400.00                               137,891.99
05/14/09      {20}         MAGAZINE, ALASKA               REFUNDS                                         1290-000                   1.32                               137,893.31
05/14/09      {20}         MORRIS COMMUNICATIONS          REFUNDS                                         1290-000                   0.85                               137,894.16
                           CORP
05/29/09      {17}         Bank of America                Interest Rate 0.050                             1270-000                   5.85                               137,900.01
06/30/09      {17}         Bank of America                Interest Rate 0.050                             1270-000                   5.67                               137,905.68
07/31/09      {17}         Bank of America                Interest Rate 0.080                             1270-000                   6.42                               137,912.10
08/21/09       108         UNITED STATES DISTRICT         PHV ADMISSION 3:06-CV-00151                     2700-000                                        75.00         137,837.10
                           COURT

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                                                                              Subtotals :   $2,145.74  $1,170.53
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{} Asset reference(s)                                                                                                                       Printed: 07/16/2018 05:01 PM       V.14.14
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                                                    Cash Receipts And Disbursements Record
Case Number:         308-01429 MFH                                                                Trustee:              SUSAN R. LIMOR, TRUSTEE (620530)
Case Name:           GENESIS, INC., A TENNESSEE CORPORAT                                          Bank Name:            Bank of America
                                                                                                  Account:              ******5759 - Money Market Account
Taxpayer ID #:       **-***1030                                                                   Blanket Bond:         $720,000.00 (per case limit)
Period Ending: 06/30/18                                                                           Separate Bond: N/A

   1             2                           3                                      4                                               5                     6                     7

 Trans.     {Ref #} /                                                                                                           Receipts           Disbursements          Money Market
  Date      Check #           Paid To / Received From               Description of Transaction                 T-Code              $                     $               Account Balance
08/31/09      {17}         Bank of America                  Interest Rate 0.080                              1270-000                     9.37                                137,846.47
09/01/09       109         KRAFT CPAS TURNAROUND AND        ACCOUNTANT FEES PURSUANT TO                      3410-000                                     27,057.75           110,788.72
                                                            APPLICATION FOR COMPENSATION FILED
                                                            ON JULY 7, 2009 AND ORDER ENTERED
                                                            GRANTING ON AUGUST 14, 2009
09/01/09       110         KRAFT CPAS TURNAROUND AND        ACCOUNTANT EXPENSES PURSUANT TO                  3420-000                                         4,872.48        105,916.24
                                                            APPLICATION FOR COMPENSATION FILED
                                                            ON JULY 7, 2009 AND ORDER ENTERED
                                                            GRANTING ON AUGUST 14, 2009
09/30/09      {17}         Bank of America                  Interest Rate 0.080                              1270-000                     7.10                                105,923.34
10/30/09      {17}         Bank of America                  Interest Rate 0.080                              1270-000                     7.19                                105,930.53
11/30/09      {17}         Bank of America                  Interest Rate 0.080                              1270-000                     6.97                                105,937.50
12/01/09                   Transfer to Acct #2131630390     Bank Funds Transfer                              9999-000                                    105,937.50                   0.00

                                                                                  ACCOUNT TOTALS                                  140,552.53             140,552.53                  $0.00
                                                                                        Less: Bank Transfers                              0.00           105,937.50
                                                                                  Subtotal                                        140,552.53              34,615.03
                                                                                        Less: Payments to Debtors                                                 0.00
                                                                                  NET Receipts / Disbursements                   $140,552.53             $34,615.03




                 Case 3:08-bk-01429                       Doc 331 Filed 07/16/18 Entered 07/16/18 17:26:24                                                         Desc Main
                                                                 Document    Page 16 of 44
{} Asset reference(s)                                                                                                                            Printed: 07/16/2018 05:01 PM       V.14.14
                                                                                      Form 2                                                                                           Page: 4

                                                      Cash Receipts And Disbursements Record
Case Number:           308-01429 MFH                                                                 Trustee:            SUSAN R. LIMOR, TRUSTEE (620530)
Case Name:             GENESIS, INC., A TENNESSEE CORPORAT                                           Bank Name:          Union Bank
                                                                                                     Account:            ******0390 - Analyzed Business Checkin
Taxpayer ID #:         **-***1030                                                                    Blanket Bond:       $720,000.00 (per case limit)
Period Ending: 06/30/18                                                                              Separate Bond: N/A

   1             2                           3                                        4                                               5                     6                     7

 Trans.     {Ref #} /                                                                                                            Receipts            Disbursements            Checking
  Date      Check #             Paid To / Received From                 Description of Transaction              T-Code              $                      $               Account Balance
12/01/09         {4}         CASHCO MARKETING &                 ACCOUNTS RECEIVABLE                             1121-000              2,000.00                                        2,000.00
                             DISTRIBUTION
12/01/09                     Transfer from Acct #4429255759     Bank Funds Transfer                             9999-000           105,937.50                                   107,937.50
12/01/09       101           AMBROSE PRINTING COMPANY           ATTORNEY FEES AND EXPENSES                      2990-000                                    11,059.93             96,877.57
                                                                PURSUANT TO AGREED ORDER ENTERED
                                                                08/26/08 (Doc 82) GRANTING
                                                                ADMINISTRATIVE CLAIM OF GULLETT,
                                                                SANFORD, ROBINSON & MARTIN FOR
                                                                CHAPTER 7 INVOLUNTARY PETITION
                                                                $10,922.90 ATTORNEY FEES $137.03
                                                                ATTORNEY EXPENSES
12/08/09         {7}         UNITED STATES LIABILITY            LAWSUIT PROCEEDS                                1149-000           450,000.00                                   546,877.57
                             INSURANCE C
12/09/09       102           JOHN HELDRETH & ASSOCIATES         STORAGE CHARGES STORAGE FEES                    2410-000                                         100.00         546,777.57
                                                                DECEMBER 2009
12/14/09       103           FIFTH THIRD BANK                   COPIES FROM FIFTH THIRD                         2990-000                                         328.70         546,448.87
12/28/09       104           INTERNATIONAL SURETIES, LTD        BOND PREMIUM                                    2300-000                                         496.63         545,952.24
12/31/09      {20}           THE AMERICAN PROSPECT, INC.        REFUND                                          1290-000                    0.16                                545,952.40
12/31/09      {20}           DELICIOUS, INTERNATIONALLY         REFUND                                          1290-000                  145.00                                546,097.40
12/31/09      {17}           Union Bank                         INTEREST REC'D FROM BANK                        1270-000                   88.81                                546,186.21
01/01/10       105           JOHN HELDRETH & ASSOCIATES         STORAGE CHARGES                                 2410-000                                         600.00         545,586.21
01/06/10         {4}         CASHCO MARKETING AND               ACCOUNTS RECEIVABLE                             1121-000              1,000.00                                  546,586.21
                             DISTRIBUTION
01/15/10       106           ARMSTRONG, F. DEAN                 SPECIAL COUNSEL FEES PURSUANT TO                3210-000                                   202,500.00           344,086.21
                                                                ORDER ENTERED 01/05/10 (Doc 113)
                                                                CONTINGENT ATTORNEY FEES OF 45%
                                                                INTELOMETRY LAWSUIT SETTLEMENT
01/15/10       107           FROST BROWN TODD LLC               ATTORNEY FEES AND EXPENSES/GENESIS 3701-000                                                 49,908.18           294,178.03
                                                                PURSUANT TO ATTORNEY LIEN ON
                                                                INTELOMETRY LAWSUIT AND ORDER
                                                                ENTERED 01/05/10 (Doc 113) APPROVING
                                                                COMPROMISE AND SETTLEMENT AND
                                                                PAYMENT OF ATTORNEY'S FEES
                                                                PURSUANT TO STATUTORY LIEN
01/18/10                     Transfer to Acct #2131630713       Bank Funds Transfer                             9999-000                                         540.00         293,638.03
01/29/10      {17}           Union Bank                         Interest Rate 0.150                             1270-000                   58.37                                293,696.40
02/02/10         {4}         CASHCO MARKETING AND               ACCOUNTS RECEIVABLE                             1121-000              1,000.00                                  294,696.40
                             DISTRIBUTION
02/05/10       108           SUNTRUST BANK                      COPIES FROM SUNTRUST                            2990-000                                          75.00         294,621.40
02/22/10                     Transfer to Acct #2131630747       Bank Funds Transfer                             9999-000                                        1,500.00        293,121.40
02/26/10      {17}           Union Bank                         Interest Rate 0.150                             1270-000                   33.84                                293,155.24
                  Case 3:08-bk-01429                          Doc 331 Filed 07/16/18 Entered 07/16/18 17:26:24 Desc Main
                                                                                    Subtotals :   $560,263.68 $267,108.44
                                                                     Document    Page    17 of 44
{} Asset reference(s)                                                                                                                              Printed: 07/16/2018 05:01 PM        V.14.14
                                                                                     Form 2                                                                                        Page: 5

                                                     Cash Receipts And Disbursements Record
Case Number:           308-01429 MFH                                                              Trustee:            SUSAN R. LIMOR, TRUSTEE (620530)
Case Name:             GENESIS, INC., A TENNESSEE CORPORAT                                        Bank Name:          Union Bank
                                                                                                  Account:            ******0390 - Analyzed Business Checkin
Taxpayer ID #:         **-***1030                                                                 Blanket Bond:       $720,000.00 (per case limit)
Period Ending: 06/30/18                                                                           Separate Bond: N/A

   1             2                           3                                       4                                             5                     6                     7

 Trans.     {Ref #} /                                                                                                         Receipts            Disbursements            Checking
  Date      Check #             Paid To / Received From             Description of Transaction               T-Code              $                      $               Account Balance
03/05/10       109           JOHN HELDRETH & ASSOCIATES     STORAGE CHARGES MARCH 2010                       2410-000                                         100.00         293,055.24
03/10/10       110           UNITED STATES BANKRUPTCY       ADVERSARY FILING FEES, CASE 10-00129             2700-000                                         250.00         292,805.24
                             COURT
03/31/10      {17}           Union Bank                     Interest Rate 0.150                              1270-000                   39.73                                292,844.97
04/09/10      {24}           PIEDMONT NATURAL GAS           SETTLEMENT OF                                    1241-000              6,250.00                                  299,094.97
                             COMPANY                        PREFERENCE/FRAUDLUEN SETTLEMENT
                                                            RE ADVERSARY CASE 10-00077,
                                                            DEFENDANT PIEDMONT NATURAL GAS
                                                            SETTLEMENT. See Order entered 11/23/10
                                                            (Doc Entry 73 in 10-ap-77).
04/15/10      {20}           UNITED STATES POSTAL           REFUND ON PREPAID POSTAL ACCOUNT                 1229-000                  100.25                                299,195.22
                             SERVICE
04/15/10       112           SUSAN R. LIMOR, ATTORNEY       ATTORNEY EXPENSES PURSUANT TO                    3120-000                                        4,301.09        294,894.13
                                                            ORDER ENTERED 4/8/10
04/19/10       111           SUSAN R. LIMOR, ATTORNEY       ATTORNEY FEES PURSUANT TO ORDER                  3110-000                                    45,245.00           249,649.13
                                                            ENTERED 4/18/10
04/21/10         {4}         CASHCO MARKETING &             ACCOUNTS RECEIVABLE PAYMENT                      1121-000                  700.00                                250,349.13
                             DISTRIBUTION
04/30/10      {17}           Union Bank                     Interest Rate 0.100                              1270-000                   24.11                                250,373.24
05/28/10      {17}           Union Bank                     Interest Rate 0.100                              1270-000                   19.21                                250,392.45
06/30/10      {17}           Union Bank                     Interest Rate 0.100                              1270-000                   22.64                                250,415.09
07/13/10       113           JOHN HELDRETH & ASSOCIATES     STORAGE CHARGES STORAGE FOR JAN,                 2410-000                                         600.00         249,815.09
                                                            FEB, APRIL, MAY, JUNE AND JULY 2010
07/14/10      {24}           NASHVILLE ELECTRIC SERVICES    SETTLEMENT OF FRAUDULENT TRANSFER                1241-000              8,000.00                                  257,815.09
                                                            SETTLEMENT RE ADVERSARY CASE
                                                            10-00077, DEFENDANT NES SETTLEMENT.
                                                            See Order entered 09/02/10 (Doc Entry 60 in
                                                            10-ap-77).
07/22/10       114           UNITED STATES BANKRUPTCY       CERTIFIED COPIES FOR SALE OF 2000                2500-000                                          51.00         257,764.09
                             COURT                          INTERNATIONAL
07/30/10      {13}           MASSA VALUATION SERVICES,      SALE OF PROPERTY PER NOTICE OF                   1129-000              6,500.00                                  264,264.09
                             INC
07/30/10      {17}           Union Bank                     Interest Rate 0.100                              1270-000                   24.06                                264,288.15
08/12/10       115           DIGITAL, PR OMNI               COPY EXPENSES PURSUANT TO INVOICE                2990-000                                         436.51         263,851.64
                                                            1008032 GENESIS V SUNTRUST
                                                            DOCUMENT PRODUCTION
08/13/10      {24}           CARR, RIGGS & INGRAM LLC       SETTLEMENT OF PREFERENTIAL                       1241-000              3,600.00                                  267,451.64
                                                            TRANSFER SETTLEMENT RE ADVERSARY
                                                            CASE 10-00077, DEFENDANT CARR, RIGGS
                                                            & INGRAM. See Order entered 09/02/10 (Doc
                                                            Entry 60 in 10-ap-77).

                  Case 3:08-bk-01429                      Doc 331 Filed 07/16/18 Entered 07/16/18 17:26:24 Desc Main
                                                                                Subtotals :   $25,280.00 $50,983.60
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{} Asset reference(s)                                                                                                                           Printed: 07/16/2018 05:01 PM       V.14.14
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                                                   Cash Receipts And Disbursements Record
Case Number:         308-01429 MFH                                                                  Trustee:            SUSAN R. LIMOR, TRUSTEE (620530)
Case Name:           GENESIS, INC., A TENNESSEE CORPORAT                                            Bank Name:          Union Bank
                                                                                                    Account:            ******0390 - Analyzed Business Checkin
Taxpayer ID #:       **-***1030                                                                     Blanket Bond:       $720,000.00 (per case limit)
Period Ending: 06/30/18                                                                             Separate Bond: N/A

   1             2                         3                                      4                                                  5                     6                     7

 Trans.     {Ref #} /                                                                                                           Receipts            Disbursements            Checking
  Date      Check #           Paid To / Received From             Description of Transaction                   T-Code              $                      $               Account Balance
08/24/10      {24}         EMPLOYBRIDGE                   SETTLEMENT OF PREFERENTIAL                           1241-000                  540.00                                267,991.64
                                                          TRANSFER SETTLEMENT RE ADVERSARY
                                                          CASE 10-00077, DEFENDANT
                                                          PROLOGISTIX. See Order entered 11/23/10
                                                          (Doc Entry 72 in 10-ap-77).
08/24/10       116         KRAFT CPAS TURNAROUND AND      ACCOUNTANT EXPENSES PURSUANT TO                      3420-000                                         212.86         267,778.78
                                                          ORDER ENTERED 6/2/10
08/24/10       117         KRAFT CPAS TURNAROUND AND      ACCOUNTANT FEES PURSUANT TO                          3410-000                                    34,482.50           233,296.28
                                                          ORDER ENTERED 6/2/10
08/31/10      {17}         Union Bank                     Interest Rate 0.100                                  1270-000                   22.68                                233,318.96
09/10/10       118         JOHN HELDRETH & ASSOCIATES     AGENT FEES AND EXPENSES PURSUANT                     2990-000                                         650.00         232,668.96
                                                          TO ORDER ENTERED 8/27/10
09/17/10      {30}         UNION BANK                     BANK CREDIT Miscellaneous Bank Originated            1280-000                   15.00                                232,683.96
                                                          Item. Relates to credit made by bank on March
                                                          1, 2010. See Bank Statement for period
                                                          2/27/10 through 3/31/10.
09/23/10      {23}         REGIONS                        TURNOVER OF BANK ACCOUNT                             1229-000                    5.13                                232,689.09
09/30/10      {17}         Union Bank                     Interest Rate 0.100                                  1270-000                   19.15                                232,708.24
10/18/10       119         JOHN HELDRETH & ASSOCIATES     STORAGE CHARGES FOR AUGUST,                          2410-000                                         300.00         232,408.24
                                                          SEPTEMBER AND OCTOBER 2010 AT
                                                          $100.00 PER MONTH
10/22/10      {24}         UNITED PARCEL SERVICE          SETTLEMENT OF PREFERENTIAL                           1241-000               2,800.00                                 235,208.24
                                                          TRANSFER SETTLEMENT RE ADVERSARY
                                                          CASE 10-00077, DEFENDANT UPS. See
                                                          Order entered 11/23/10 (Doc Entry 73 in
                                                          10-ap-77).
10/29/10      {17}         Union Bank                     Interest Rate 0.100                                  1270-000                   18.51                                235,226.75
11/09/10       120         JOHN HELDRETH & ASSOCIATES     STORAGE CHARGES FILE STORAGE                         2410-000                                         100.00         235,126.75
                                                          NOVEMEBR 2010
11/30/10      {17}         Union Bank                     Interest Rate 0.050                                  1270-000                   10.95                                235,137.70
12/03/10       121         KRAFT CPAS TURNAROUND AND      ACCOUNTANT FEES PURSUANT TO                          3410-000                                        7,070.00        228,067.70
                                                          ORDER ENTERED 11/23/10
12/08/10      {24}         UNITED HEALTHCARE SERVICES, SETTLEMENT OF PREFERENTIAL                              1241-000               9,750.00                                 237,817.70
                           INC.                           TRANSFER SETTLEMENT RE ADVERSARY
                                                          CASE 10-00077, DEFENDANT UNITED
                                                          HEALTHCARE SERVICES. See Motion filed
                                                          07/19/12 (Doc Entry 119 in 10-ap-77).
12/17/10      {28}         SUNTRUST                       SETTLEMENT OF PREFERENTIAL                           1241-000              60,000.00                                 297,817.70
                                                          TRANSFER SETTLEMENT RE ADVERSARY
                                                          CASE 10-00088, DEFENDANT SUNTRUST.
                                                          See Motion filed 07/19/12 (Doc Entry 70 in
                                                          10-ap-88).
                 Case 3:08-bk-01429                     Doc 331 Filed 07/16/18 Entered 07/16/18 17:26:24 Desc Main
                                                                              Subtotals :   $73,181.42 $42,815.36
                                                               Document    Page    19 of 44
{} Asset reference(s)                                                                                                                             Printed: 07/16/2018 05:01 PM       V.14.14
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                                                   Cash Receipts And Disbursements Record
Case Number:         308-01429 MFH                                                               Trustee:            SUSAN R. LIMOR, TRUSTEE (620530)
Case Name:           GENESIS, INC., A TENNESSEE CORPORAT                                         Bank Name:          Union Bank
                                                                                                 Account:            ******0390 - Analyzed Business Checkin
Taxpayer ID #:       **-***1030                                                                  Blanket Bond:       $720,000.00 (per case limit)
Period Ending: 06/30/18                                                                          Separate Bond: N/A

   1             2                         3                                     4                                                5                    6                     7

 Trans.     {Ref #} /                                                                                                        Receipts           Disbursements            Checking
  Date      Check #           Paid To / Received From             Description of Transaction                T-Code              $                     $               Account Balance
12/31/10      {17}         Union Bank                     Interest Rate 0.050                               1270-000                  10.95                                297,828.65
01/12/11       122         INTERNATIONAL SURETIES, LTD    BOND PREMIUM                                      2300-000                                        401.86         297,426.79
01/27/11       123         JOHN HELDRETH & ASSOCIATES     STORAGE CHARGES STORAGE-JANUARY                   2410-000                                        100.00         297,326.79
                                                          2011
01/31/11      {17}         Union Bank                     Interest Rate 0.000                               1270-000                   3.67                                297,330.46
02/07/11       124         JOHN HELDRETH & ASSOCIATES     STORAGE CHARGES FILE STORAGE                      2410-000                                        100.00         297,230.46
                                                          FEBRUARY 2011
04/15/11       125         JOHN H. HELDRETH AND           STORAGE CHARGES FILE STORAGE                      2410-000                                        200.00         297,030.46
                           ASSOCIATES                     MARCH AND APRIL 2011
05/13/11       126         JOHN HELDRETH & ASSOCIATES     STORAGE CHARGES FILE STORAGE MAY                  2410-000                                        100.00         296,930.46
                                                          2011
06/06/11       127         JOHN HELDRETH & ASSOCIATES     STORAGE CHARGES JUNE 2011                         2410-000                                        100.00         296,830.46
06/23/11      {30}         ENTEC POLYMERS, LLC            CLERICAL ERROR Check should have been             1280-000              5,000.00                                 301,830.46
                                                          deposited into account of Cumberland Molded
                                                          Products.
07/08/11       128         JOHN HELDRETH & ASSOCIATES     STORAGE CHARGES STORAGE JULY 2011                 2410-000                                        100.00         301,730.46
07/14/11    129 {30}       BANK                           ENTEC REVERSAL DEPOSIT #18                        1280-000              -5,000.00                                296,730.46
                                                          INADVERTANTLY POSTED INTO
                                                          INCORRECT ACCOUNT
07/15/11      {21}         AMERICAN EXPRESS               SETTLEMENT OF PREFERENTIAL                        1241-000           168,500.00                                  465,230.46
                                                          TRANSFER SETTLEMENT RE ADVERSARY
                                                          CASE 10-00076 AND 10-00077, DEFENDANT
                                                          AMEX. See Motion filed 07/19/12 (Doc Entry 38
                                                          in 10-ap-76 and Doc Entry 119 in 10-ap-77).
08/18/11       130         JOHN HELDRETH & ASSOCIATES     STORAGE CHARGES STORAGE AUGUST                    2410-000                                        100.00         465,130.46
                                                          2011
09/26/11                   Union Bank                     BANK SERVICE FEE                                  2600-000                                       1,143.11        463,987.35
10/25/11                   Union Bank                     BANK SERVICE FEE                                  2600-000                                       1,140.65        462,846.70
11/25/11                   Union Bank                     BANK SERVICE FEE                                  2600-000                                       1,138.19        461,708.51
12/27/11                   Union Bank                     BANK SERVICE FEE                                  2600-000                                       1,135.73        460,572.78
01/20/12       131         SUSAN R. LIMOR, ATTORNEY       ATTORNEY FEES PURSUANT TO ORDER                   3110-000                                   58,058.50           402,514.28
                                                          ENTERED 1/18/12 (Doc 164) (Overpaid by
                                                          $30.00, which was repaid to bankruptcy estate
                                                          on 05/19/14)
01/20/12       132         SUSAN R. LIMOR, ATTORNEY       ATTORNEY EXPENSES PURSUANT TO                     3120-000                                       3,237.91        399,276.37
                                                          ORDER ENTERED 1/18/12 (Doc 164)
01/25/12                   Union Bank                     BANK SERVICE FEE                                  2600-000                                       1,133.28        398,143.09
01/30/12       134         KRAFT CPAS TURNAROUND AND      ACCOUNTANT FEES PURSUANT TO                       3410-000                                   28,382.50           369,760.59
                                                          ORDER ENTERED 1/17/12
02/01/12       133         KRAFT CPAS TURNAROUND AND; ACCOUNTANT FEES PURSUANT TO                           3410-000                                   28,382.00           341,378.59
                           Reverses                       ORDER ENTERED 1/17/12
                 Case 3:08-bk-01429                     Doc 331 Filed 07/16/18 Entered 07/16/18 17:26:24 Desc Main
                                                                              Subtotals :   $168,514.62 $124,953.73
                                                               Document    Page    20 of 44
{} Asset reference(s)                                                                                                                         Printed: 07/16/2018 05:01 PM       V.14.14
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                                                   Cash Receipts And Disbursements Record
Case Number:         308-01429 MFH                                                                Trustee:            SUSAN R. LIMOR, TRUSTEE (620530)
Case Name:           GENESIS, INC., A TENNESSEE CORPORAT                                          Bank Name:          Union Bank
                                                                                                  Account:            ******0390 - Analyzed Business Checkin
Taxpayer ID #:       **-***1030                                                                   Blanket Bond:       $720,000.00 (per case limit)
Period Ending: 06/30/18                                                                           Separate Bond: N/A

   1             2                         3                                      4                                                5                   6                     7

 Trans.     {Ref #} /                                                                                                         Receipts          Disbursements            Checking
  Date      Check #           Paid To / Received From             Description of Transaction                 T-Code              $                    $               Account Balance
                                                          Voided on 02/01/12
02/01/12       133         KRAFT CPAS TURNAROUND AND; ACCOUNTANT FEES PURSUANT TO                            3410-000                                 -28,382.00           369,760.59
                           Reverses                       ORDER ENTERED 1/17/12
                                                          Voided: check issued on 02/01/12
02/17/12       135         JOHN HELDRETH & ASSOCIATES     STORAGE CHARGES STORAGE                            2410-000                                       600.00         369,160.59
                                                          SPETEMBER 2011-FEBRUARY 2012
02/27/12                   Union Bank                     BANK SERVICE FEE                                   2600-000                                      1,071.82        368,088.77
02/29/12       136         INTERNATIONAL SURETIES, LTD    BOND PREMIUM                                       2300-000                                       450.87         367,637.90
03/06/12       137         JOHN HELDRETH & ASSOCIATES     STORAGE CHARGES STORAGE-MARCH                      2410-000                                       100.00         367,537.90
                                                          2012
03/26/12                   Union Bank                     BANK SERVICE FEE                                   2600-000                                       907.11         366,630.79
04/25/12       138         TREASURY, UNITED STATES        2006 5500 FILING EIN: XX-XXXXXXX                   5800-000                                        88.41         366,542.38
04/25/12                   Union Bank                     BANK SERVICE FEE                                   2600-000                                       902.20         365,640.18
05/11/12       139         JOHN H. HELDRETH AND           Storage for April and May 2012                     2410-000                                       200.00         365,440.18
                           ASSOCIATES
05/25/12                   Union Bank                     BANK SERVICE FEE                                   2600-000                                       899.74         364,540.44
06/05/12       140         JOHN H. HELDRETH AND           Storage for June 2012 See Invoice No. 38           2410-000                                       100.00         364,440.44
                           ASSOCIATES
06/25/12                   Union Bank                     BANK SERVICE FEE                                   2600-000                                       897.28         363,543.16
07/04/12       141         JOHN H. HELDRETH AND           Storage for July 2012 See Invoice No. 41           2410-000                                       100.00         363,443.16
                           ASSOCIATES
07/25/12                   Union Bank                     BANK SERVICE FEE                                   2600-000                                       894.82         362,548.34
07/31/12       142         US DEPARTMENT OF LABOR         AMENDED FORM 5500 2007, 2008, 2009                 5800-000                                      1,500.00        361,048.34
                                                          AND 2010
08/07/12       143         JOHN H. HELDRETH AND           Storage for August 2012 Check saved with an        2410-000                                          0.00        361,048.34
                           ASSOCIATES; Re                 amount of $0.00. Software would not allow
                                                          editing of check after saved. Therefore, check
                                                          voided out and re-issued in correct amount.
                                                          See Check No. 144. See Invoice No. 44
                                                          Voided on 08/07/12
08/07/12       143         JOHN H. HELDRETH AND           Storage for August 2012 Check saved with an        2410-000                                          0.00        361,048.34
                           ASSOCIATES; Re                 amount of $0.00. Software would not allow
                                                          editing of check after saved. Therefore, check
                                                          voided out and re-issued in correct amount.
                                                          See Check No. 144. See Invoice No. 44
                                                          Voided: check issued on 08/07/12
08/07/12       144         JOHN H. HELDRETH AND           Storage for August 2012 See Invoice No. 44         2410-000                                       100.00         360,948.34
                           ASSOCIATES
08/17/12      {24}         PINE RIVER PRE-PACK, INC.      SETTLEMENT OF                                      1141-000              1,634.55                                362,582.89
                                                          PREFERENCE/FRAUDLUEN RECEIVED
                                                          PURSUANT TO ORDER FOR DEFAULT
                 Case 3:08-bk-01429                     Doc 331 Filed 07/16/18 Entered 07/16/18 17:26:24 Desc Main
                                                                              Subtotals :   $1,634.55 $-19,569.75
                                                               Document    Page    21 of 44
{} Asset reference(s)                                                                                                                         Printed: 07/16/2018 05:01 PM       V.14.14
                                                                                  Form 2                                                                                           Page: 9

                                                   Cash Receipts And Disbursements Record
Case Number:         308-01429 MFH                                                                 Trustee:            SUSAN R. LIMOR, TRUSTEE (620530)
Case Name:           GENESIS, INC., A TENNESSEE CORPORAT                                           Bank Name:          Union Bank
                                                                                                   Account:            ******0390 - Analyzed Business Checkin
Taxpayer ID #:       **-***1030                                                                    Blanket Bond:       $720,000.00 (per case limit)
Period Ending: 06/30/18                                                                            Separate Bond: N/A

   1             2                         3                                      4                                                 5                    6                     7

 Trans.     {Ref #} /                                                                                                          Receipts           Disbursements            Checking
  Date      Check #           Paid To / Received From             Description of Transaction                  T-Code              $                     $               Account Balance
                                                          JUDGMENT ENTERED JULY 10, 2012 IN
                                                          ADVERSARY CASE 10-00077, DEFENDANT
                                                          PINE RIVER PRE-PACK, INC.
08/27/12                   Union Bank                     BANK SERVICE FEE                                    2600-000                                        892.36         361,690.53
09/25/12                   Union Bank                     BANK SERVICE FEE                                    2600-000                                        887.45         360,803.08
09/27/12       145         KRAFT CPAS TURNAROUND AND      Accountant Fees Pursuant to Fifth Application       3410-000                                       7,791.50        353,011.58
                                                          for Compensation for Accountant Group, PLLC
                                                          Kraft CPAS Turnaround & Restructuring filed
                                                          08/15/12 (Docket Entry 169); and Order
                                                          Granting Application entered 09/12/12 (Docket
                                                          Entry 171)
10/11/12       146         JOHN H. HELDRETH AND           Storage for Sept and Oct 2012 See Invoice No.       2410-000                                        200.00         352,811.58
                           ASSOCIATES                     46
10/25/12                   Union Bank                     BANK SERVICE FEE                                    2600-000                                        887.45         351,924.13
11/26/12                   Union Bank                     BANK SERVICE FEE                                    2600-000                                        448.14         351,475.99
12/26/12                   Union Bank                     BANK SERVICE FEE                                    2600-000                                        432.60         351,043.39
01/15/13       147         JOHN H. HELDRETH AND           Storage for November 2012 See Invoice No.           2410-000                                        100.00         350,943.39
                           ASSOCIATES                     49.
01/15/13       148         JOHN H. HELDRETH AND           Storage for Dec 2012 and Jan 2013 See               2410-000                                        200.00         350,743.39
                           ASSOCIATES                     Invoice No. 50.
01/18/13       149         INTERNATIONAL SURETIES, LTD    BOND PREMIUM                                        2300-000                                        353.71         350,389.68
01/25/13      {25}         INSTREAM                       SETTLEMENT OF                                       1241-000              15,000.00                                365,389.68
                                                          PREFERENCE/FRAUDLUEN
01/25/13                   Union Bank                     BANK SERVICE FEE                                    2600-000                                        446.44         364,943.24
02/25/13                   Union Bank                     BANK SERVICE FEE                                    2600-000                                        449.54         364,493.70
03/25/13                   Union Bank                     BANK SERVICE FEE                                    2600-000                                        490.11         364,003.59
04/25/13                   Union Bank                     BANK SERVICE FEE                                    2600-000                                        541.58         363,462.01
05/23/13      {27}         ANDREA P. BAUMAN, TRUSTEE      SETTLEMENT OF                                       1241-000               1,778.18                                365,240.19
                                                          PREFERENCE/FRAUDLUEN
05/28/13                   Union Bank                     BANK SERVICE FEE                                    2600-000                                        523.41         364,716.78
06/05/13       150         JOHN H. HELDRETH AND           Storage for Feb 2013 - June 2013 See Invoice        2410-000                                        500.00         364,216.78
                           ASSOCIATES                     Nos. 54, 55, 56
06/25/13                   Union Bank                     BANK SERVICE FEE                                    2600-000                                        540.80         363,675.98
07/22/13       151         JOHN H. HELDRETH AND           Storage for July 2013                               2410-000                                        100.00         363,575.98
                           ASSOCIATES
07/25/13                   Union Bank                     BANK SERVICE FEE                                    2600-000                                        523.96         363,052.02
08/08/13       152         JOHN H. HELDRETH AND           Storage for August 2013                             2410-000                                        100.00         362,952.02
                           ASSOCIATES
08/26/13                   Union Bank                     BANK SERVICE FEE                                    2600-000                                        540.34         362,411.68
09/25/13                   Union Bank                     BANK SERVICE FEE                                    2600-000                                        539.36         361,872.32

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                                                                              Subtotals :   $16,778.18 $17,488.75
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{} Asset reference(s)                                                                                                                           Printed: 07/16/2018 05:01 PM       V.14.14
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                                                   Cash Receipts And Disbursements Record
Case Number:         308-01429 MFH                                                                 Trustee:            SUSAN R. LIMOR, TRUSTEE (620530)
Case Name:           GENESIS, INC., A TENNESSEE CORPORAT                                           Bank Name:          Union Bank
                                                                                                   Account:            ******0390 - Analyzed Business Checkin
Taxpayer ID #:       **-***1030                                                                    Blanket Bond:       $720,000.00 (per case limit)
Period Ending: 06/30/18                                                                            Separate Bond: N/A

   1             2                         3                                      4                                                 5                    6                     7

 Trans.     {Ref #} /                                                                                                          Receipts           Disbursements          Checking
  Date      Check #           Paid To / Received From             Description of Transaction                  T-Code              $                     $             Account Balance
10/01/13       153         JOHN H. HELDRETH AND           Storage for Sept and Oct 2013 See Invoice #63       2410-000                                       200.00        361,672.32
                           ASSOCIATES                     & 62
10/25/13                   Union Bank                     BANK SERVICE FEE                                    2600-000                                       521.12        361,151.20
11/01/13                   Reverses Adjustment OUT on     Excess Activity Charge Misc. Fee Reversal.          2600-000                                       -15.00        361,166.20
                           11/01/13                       Relates to credit made by bank on January 5,
                                                          2010. See Bank Statement for period 01/01/10
                                                          through 01/29/10.
11/01/13                   UNION BANK                     Excess Activity Charge. Relates to debit made       2600-000                                        15.00        361,151.20
                                                          by bank on December 29, 2009. See Bank
                                                          Statement for period 12/1/09 through 12/31/09.
11/22/13       154         JOHN H. HELDRETH AND           Storage for November 2013 Per Invoice No. 65. 2410-000                                             100.00        361,051.20
                           ASSOCIATES
11/25/13                   Union Bank                     BANK SERVICE FEE                                    2600-000                                       537.52        360,513.68
12/13/13       155         JOHN H. HELDRETH AND           Storage for December 2013 See Invoice No. 69 2410-000                                              100.00        360,413.68
                           ASSOCIATES
12/26/13                   Union Bank                     BANK SERVICE FEE                                    2600-000                                       519.28        359,894.40
01/02/14       156         INTERNATIONAL SURETIES, LTD    Chapter 7 Blanket Bond Bond #016026373              2300-000                                       268.63        359,625.77
01/06/14       157         JOHN H. HELDRETH AND           Storage for January 2014 See Invoice No. 71         2410-000                                       100.00        359,525.77
                           ASSOCIATES
01/27/14                   Union Bank                     BANK SERVICE FEE                                    2600-000                                       535.61        358,990.16
02/24/14       158         JOHN H. HELDRETH AND           Storage for February 2014 See Invoice # 25          2410-000                                       100.00        358,890.16
                           ASSOCIATES
02/25/14                   Union Bank                     BANK SERVICE FEE                                    2600-000                                       534.37        358,355.79
03/12/14       159         JOHN H. HELDRETH AND           Storage for March 2014 See Invoice #80              2410-000                                       100.00        358,255.79
                           ASSOCIATES
03/25/14                   Union Bank                     BANK SERVICE FEE                                    2600-000                                       481.83        357,773.96
04/04/14       160         MASSA ESTATE GROUP             Storage for April 2014 See Invoice #1               2410-000                                       100.00        357,673.96
04/07/14      {28}         BANK OF AMERICA NA             SETTLEMENT OF                                       1241-000              35,000.00                              392,673.96
                                                          PREFERENCE/FRAUDLUEN Per Trustee's
                                                          Motion to Approve Compromise and Settlement
                                                          of Complaint Against Bank of America, N.A.
                                                          and FIA Card Services, N.A. filed 03/06/14
                                                          (Doc 177 in Case No. 08-01429); and Order
                                                          Approving Compromise and Settleme
04/07/14      {28}         BANK OF AMERICA, N.A.          SETTLEMENT OF                                       1241-000              15,000.00                              407,673.96
                                                          PREFERENCE/FRAUDLUEN Per Trustee's
                                                          Motion to Approve Compromise and Settlement
                                                          of Complaint Against Bank of America, N.A.
                                                          and FIA Card Services, N.A. filed 03/06/14
                                                          (Doc 177 in Case No. 08-01429); and Order
                                                          Approving Compromise and Settleme

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                                                                              Subtotals :   $50,000.00 $4,198.36
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{} Asset reference(s)                                                                                                                           Printed: 07/16/2018 05:01 PM        V.14.14
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                                                    Cash Receipts And Disbursements Record
Case Number:         308-01429 MFH                                                                    Trustee:            SUSAN R. LIMOR, TRUSTEE (620530)
Case Name:           GENESIS, INC., A TENNESSEE CORPORAT                                              Bank Name:          Union Bank
                                                                                                      Account:            ******0390 - Analyzed Business Checkin
Taxpayer ID #:       **-***1030                                                                       Blanket Bond:       $720,000.00 (per case limit)
Period Ending: 06/30/18                                                                               Separate Bond: N/A

   1             2                         3                                        4                                                  5                    6                     7

 Trans.     {Ref #} /                                                                                                             Receipts           Disbursements          Checking
  Date      Check #           Paid To / Received From               Description of Transaction                   T-Code              $                     $             Account Balance
04/25/14                   Union Bank                       BANK SERVICE FEE                                     2600-000                                       532.42        407,141.54
05/05/14       161         MASSA ESTATE GROUP               Storage for May 2014 RE: Invoice No. 3               2410-000                                       100.00        407,041.54
05/19/14      {30}         SUSAN R. LIMOR, ATTORNEY AT      Refund of Overpayment Overpayment of                 1290-002                  30.00                              407,071.54
                           LAW, A                           attorney fees PURSUANT TO ORDER
                                                            ENTERED 1/18/12 (Doc 164). See Check No.
                                                            131 dated 01/20/12.
05/27/14                   Union Bank                       BANK SERVICE FEE                                     2600-000                                       569.49        406,502.05
06/06/14       162         MASSA ESTATE GROUP               Storage for June 2014 RE: Invoice No. 6              2410-000                                       100.00        406,402.05
06/20/14                   Transfer to Acct #2131632578     Bank Funds Transfer                                  9999-000                                  200,000.00         206,402.05
06/25/14                   Union Bank                       BANK SERVICE FEE                                     2600-000                                       604.92        205,797.13
07/11/14       163         MASSA ESTATE GROUP               Storage for July 2014 RE: Invoice No. 10             2410-000                                       100.00        205,697.13
07/25/14                   Union Bank                       BANK SERVICE FEE                                     2600-000                                       478.95        205,218.18
08/01/14                   Transfer to Acct #2131632578     Bank Funds Transfer                                  9999-000                                  205,218.18                    0.00

                                                                                  ACCOUNT TOTALS                                    895,682.45             895,682.45                   $0.00
                                                                                         Less: Bank Transfers                       105,937.50             407,258.18
                                                                                  Subtotal                                          789,744.95             488,424.27
                                                                                         Less: Payments to Debtors                                                0.00
                                                                                  NET Receipts / Disbursements                     $789,744.95            $488,424.27




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{} Asset reference(s)                                                                                                                              Printed: 07/16/2018 05:01 PM        V.14.14
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                                                   Cash Receipts And Disbursements Record
Case Number:         308-01429 MFH                                                                  Trustee:              SUSAN R. LIMOR, TRUSTEE (620530)
Case Name:           GENESIS, INC., A TENNESSEE CORPORAT                                            Bank Name:            Union Bank
                                                                                                    Account:              ******0713 - Money Market Account
Taxpayer ID #:       **-***1030                                                                     Blanket Bond:         $720,000.00 (per case limit)
Period Ending: 06/30/18                                                                             Separate Bond: N/A

   1             2                         3                                          4                                                5                     6                     7

 Trans.     {Ref #} /                                                                                                             Receipts            Disbursements         Money Market
  Date      Check #           Paid To / Received From                Description of Transaction                  T-Code              $                      $              Account Balance
01/18/10                   Transfer from Acct #2131630390     Bank Funds Transfer                              9999-000                    540.00                                       540.00
01/18/10       101         REGIONS BANK                       COPIES OF BANK STATEMENTS                        2990-000                                           540.00                  0.00

                                                                                    ACCOUNT TOTALS                                         540.00                 540.00                 $0.00
                                                                                          Less: Bank Transfers                             540.00                   0.00
                                                                                    Subtotal                                                 0.00                 540.00
                                                                                          Less: Payments to Debtors                                                 0.00
                                                                                    NET Receipts / Disbursements                            $0.00                $540.00




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{} Asset reference(s)                                                                                                                               Printed: 07/16/2018 05:01 PM        V.14.14
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                                                   Cash Receipts And Disbursements Record
Case Number:         308-01429 MFH                                                                  Trustee:              SUSAN R. LIMOR, TRUSTEE (620530)
Case Name:           GENESIS, INC., A TENNESSEE CORPORAT                                            Bank Name:            Union Bank
                                                                                                    Account:              ******0747 - Checking Account
Taxpayer ID #:       **-***1030                                                                     Blanket Bond:         $720,000.00 (per case limit)
Period Ending: 06/30/18                                                                             Separate Bond: N/A

   1             2                         3                                          4                                                5                    6                     7

 Trans.     {Ref #} /                                                                                                             Receipts           Disbursements            Checking
  Date      Check #           Paid To / Received From                Description of Transaction                  T-Code              $                     $               Account Balance
02/22/10                   Transfer from Acct #2131630390     Bank Funds Transfer                              9999-000                1,500.00                                       1,500.00
02/22/10       101         UNITED STATES BANKRUPTCY           ADVERSARY FILING FEES CASE 10-00076              2700-000                                          250.00               1,250.00
                           COURT
02/22/10       102         UNITED STATES BANKRUPTCY           ADVERSARY FILING FEES CASE 10-00077              2700-000                                          250.00               1,000.00
                           COURT
02/22/10       103         UNITED STATES BANKRUPTCY           ADVERSARY FILING FEES CASE 10-00085              2700-000                                          250.00                750.00
                           COURT
02/22/10       104         UNITED STATES BANKRUPTCY           ADVERSARY FILING FEES CASE 10-00086              2700-000                                          250.00                500.00
                           COURT
02/22/10       105         UNITED STATES BANKRUPTCY           ADVERSARY FILING FEES CASE 10-00087              2700-000                                          250.00                250.00
                           COURT
02/22/10       106         UNITED STATES BANKRUPTCY           ADVERSARY FILING FEES CASE 10-00088              2700-000                                          250.00                   0.00
                           COURT

                                                                                    ACCOUNT TOTALS                                     1,500.00                 1,500.00                $0.00
                                                                                          Less: Bank Transfers                         1,500.00                     0.00
                                                                                    Subtotal                                                0.00                1,500.00
                                                                                          Less: Payments to Debtors                                                 0.00
                                                                                    NET Receipts / Disbursements                           $0.00            $1,500.00




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{} Asset reference(s)                                                                                                                              Printed: 07/16/2018 05:01 PM        V.14.14
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                                                   Cash Receipts And Disbursements Record
Case Number:         308-01429 MFH                                                                    Trustee:            SUSAN R. LIMOR, TRUSTEE (620530)
Case Name:           GENESIS, INC., A TENNESSEE CORPORAT                                              Bank Name:          Union Bank
                                                                                                      Account:            ******2578 - No Bank Fee Account
Taxpayer ID #:       **-***1030                                                                       Blanket Bond:       $720,000.00 (per case limit)
Period Ending: 06/30/18                                                                               Separate Bond: N/A

   1             2                         3                                           4                                               5                     6                     7

 Trans.     {Ref #} /                                                                                                             Receipts            Disbursements            Checking
  Date      Check #           Paid To / Received From                   Description of Transaction               T-Code              $                      $               Account Balance
06/20/14                   Transfer from Acct #2131630390     Bank Funds Transfer                                9999-000           200,000.00                                   200,000.00
08/01/14                   Transfer from Acct #2131630390     Bank Funds Transfer                                9999-000           205,218.18                                   405,218.18
08/25/14      {24}         SOS PRINTING LLC                   SETTLEMENT PROCEEDS Per Motion for                 1141-000                  500.00                                405,718.18
                                                              Compromise and Settlement filed 08/21/14
                                                              (Doc 164 in Case 3:10-ap-00077); and Order
                                                              Granting Motion entered 09/15/14 (Doc 167 in
                                                              Case 3:10-ap-00077).
09/08/14      {24}         SOS PRINTING, LLC                  SETTLEMENT PROCEEDS Per Motion for                 1141-000                  270.83                                405,989.01
                                                              Compromise and Settlement filed 08/21/14
                                                              (Doc 164 in Case 3:10-ap-00077); and Order
                                                              Granting Motion entered 09/15/14 (Doc 167 in
                                                              Case 3:10-ap-00077).
09/19/14      1001         SUSAN R. LIMOR, ATTORNEY AT        Attorney Fees and Expenses PER THIRD                                                           30,018.65           375,970.36
                           LAW                                APPLICATION FOR COMPENSATION AND
                                                              REIMBURSEMENT OF EXPENSES FOR
                                                              SUSAN R. LIMOR, ATTORNEY FOR
                                                              TRUSTEE FILED 08/08/14 (DOC 214); AND
                                                              ORDER AWARDING COMPENSATION
                                                              ENTERED 09/04/14 (DOC 219).
09/19/14                                                         Fees                            28,247.00       3110-000                                                        375,970.36
09/19/14                                                         Expenses                         1,771.65       3120-000                                                        375,970.36
09/30/14      1002         SUSAN R. LIMOR, TRUSTEE            Interim Trustee Compensation Per Trustee's         2100-000                                    32,411.90           343,558.46
                                                              Motion to Award Interim Trustee Compensation
                                                              and Allow Interim Dist
09/30/14      1003         TENNESSEE DEPARTMENT OF            Claim 03, Payment 100.00000% Per Trustee's         5800-000                                        4,443.27        339,115.19
                           REVENUE                            Motion to Award Interim Trustee Compensation
                                                              and Allow Interim Dist
09/30/14      1004         STATE BOARD OF EQUALIZATION Claim 51, Payment 100.00000% Per Trustee's                5800-000                                        8,056.15        331,059.04
                                                              Motion to Award Interim Trustee Compensation
                                                              and Allow Interim Dist
09/30/14      1005         CORPORATE EXPRESS OFFICE           Claim 02, Payment 8.38628% Interim                 7100-000                                         978.78         330,080.26
                           PRODUCTS,                          Distribution per Trustee's Motion to Award
                                                              Interim Trustee Compensation a
09/30/14      1006         WESTERN STATES ENVELOPE            Claim 04, Payment 8.38626% Interim                 7100-000                                        1,089.82        328,990.44
                           CO-KY                              Distribution per Trustee's Motion to Award
                                                              Interim Trustee Compensation a
09/30/14      1007         STAFFING SOLUTIONS                 Claim 05, Payment 8.38622% Interim                 7100-000                                        1,260.68        327,729.76
                                                              Distribution per Trustee's Motion to Award
                                                              Interim Trustee Compensation a
09/30/14      1008         PACON CORPORATION                  Claim 06, Payment 8.38471% Interim                 7100-000                                          27.20         327,702.56
                                                              Distribution per Trustee's Motion to Award
                                                              Interim Trustee Compensation a
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                                                                                  Subtotals :   $405,989.01 $78,286.45
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{} Asset reference(s)                                                                                                                               Printed: 07/16/2018 05:01 PM        V.14.14
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                                                   Cash Receipts And Disbursements Record
Case Number:         308-01429 MFH                                                                  Trustee:            SUSAN R. LIMOR, TRUSTEE (620530)
Case Name:           GENESIS, INC., A TENNESSEE CORPORAT                                            Bank Name:          Union Bank
                                                                                                    Account:            ******2578 - No Bank Fee Account
Taxpayer ID #:       **-***1030                                                                     Blanket Bond:       $720,000.00 (per case limit)
Period Ending: 06/30/18                                                                             Separate Bond: N/A

   1             2                         3                                       4                                                 5                 6                    7

 Trans.     {Ref #} /                                                                                                           Receipts        Disbursements            Checking
  Date      Check #           Paid To / Received From             Description of Transaction                   T-Code              $                  $               Account Balance
09/30/14      1009         F.L. MOTHERAL CO. DBA          Claim 08, Payment 8.38630% Trustee is                7100-000                                     540.72         327,161.84
                           MOTHERAL PRIN                  unable to locate claimant. Therefore, such
                                                          funds will be submitted to the Court. Interim
                                                          Distribution per Trustee's Motion to Award
                                                          Interim Trustee Compensation a
                                                          Voided on 10/20/14
09/30/14      1010         NET EVIDENCE, INC              Claim 09, Payment 8.38629% Interim                   7100-000                                     746.38         326,415.46
                                                          Distribution per Trustee's Motion to Award
                                                          Interim Trustee Compensation a
09/30/14      1011         SCSI BUSINESS SOLUTIONS,       Claim 10, Payment 8.38625% Interim                   7100-000                                13,461.70           312,953.76
                           L.L.C.                         Distribution per Trustee's Motion to Award
                                                          Interim Trustee Compensation a
09/30/14      1012         AMBROSE PRINTING COMPANY       Claim 12, Payment 8.38625% Interim                   7100-000                                25,354.75           287,599.01
                                                          Distribution per Trustee's Motion to Award
                                                          Interim Trustee Compensation a
09/30/14      1013         CAMBRIDGE MARKETING, LLC       Claim 15, Payment 8.38625% Interim                   7100-000                                    8,947.13        278,651.88
                                                          Distribution per Trustee's Motion to Award
                                                          Interim Trustee Compensation a
09/30/14      1014         ASPEN HILLS, INC               Claim 16, Payment 8.38626% Interim                   7100-000                                    3,847.91        274,803.97
                                                          Distribution per Trustee's Motion to Award
                                                          Interim Trustee Compensation a
09/30/14      1015         FROST BROWN TODD, LLC          Claim 18, Payment 8.38678% Interim                   7100-000                                      67.21         274,736.76
                                                          Distribution per Trustee's Motion to Award
                                                          Interim Trustee Compensation a
09/30/14      1016         FROST BROWN TODD, LLC          Claim 19, Payment 8.38624% Interim                   7100-000                                    2,877.14        271,859.62
                                                          Distribution per Trustee's Motion to Award
                                                          Interim Trustee Compensation a
09/30/14      1017         OFFICE DEPOT                   Claim 22, Payment 8.38627% Interim                   7100-000                                    1,090.28        270,769.34
                                                          Distribution per Trustee's Motion to Award
                                                          Interim Trustee Compensation a
09/30/14      1018         SMURFIT-STONE CONTAINER        Claim 23, Payment 8.38624% Interim                   7100-000                                    1,368.55        269,400.79
                           CORPORATION                    Distribution per Trustee's Motion to Award
                                                          Interim Trustee Compensation a
09/30/14      1019         KINGERY PRINTING CO            Claim 28, Payment 8.38623% Interim                   7100-000                                     967.42         268,433.37
                                                          Distribution per Trustee's Motion to Award
                                                          Interim Trustee Compensation a
09/30/14      1020         WOODY BALLENTINE D/B/A         Claim 29, Payment 8.38631% Trustee is                7100-000                                     524.48         267,908.89
                           BALLENTINE P                   unable to locate claimant. Therefore, such
                                                          funds will be submitted to the Court. Interim
                                                          Distribution per Trustee's Motion to Award
                                                          Interim Trustee Compensation a
                                                          Voided on 10/09/14
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                                                                              Subtotals :     $0.00   $59,793.67
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{} Asset reference(s)                                                                                                                        Printed: 07/16/2018 05:01 PM        V.14.14
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                                                   Cash Receipts And Disbursements Record
Case Number:         308-01429 MFH                                                                Trustee:            SUSAN R. LIMOR, TRUSTEE (620530)
Case Name:           GENESIS, INC., A TENNESSEE CORPORAT                                          Bank Name:          Union Bank
                                                                                                  Account:            ******2578 - No Bank Fee Account
Taxpayer ID #:       **-***1030                                                                   Blanket Bond:       $720,000.00 (per case limit)
Period Ending: 06/30/18                                                                           Separate Bond: N/A

   1             2                         3                                      4                                                5                 6                    7

 Trans.     {Ref #} /                                                                                                         Receipts        Disbursements            Checking
  Date      Check #           Paid To / Received From             Description of Transaction                 T-Code              $                  $               Account Balance
09/30/14      1021         BOULT CUMMINGS CONNERS &       Claim 30, Payment 8.38621% Interim                 7100-000                                     328.01         267,580.88
                           BERRY PLC                      Distribution per Trustee's Motion to Award
                                                          Interim Trustee Compensation a
09/30/14      1022         TSC APPAREL                    Claim 31, Payment 8.38621% Interim                 7100-000                                     614.93         266,965.95
                                                          Distribution per Trustee's Motion to Award
                                                          Interim Trustee Compensation a
09/30/14      1023         NATIONAL PACKAGING CO          Claim 32, Payment 8.38616% Interim                 7100-000                                     330.75         266,635.20
                                                          Distribution per Trustee's Motion to Award
                                                          Interim Trustee Compensation a
09/30/14      1024         KONICA MINOLTA DANKA           Claim 33, Payment 8.38610% Interim                 7100-000                                     163.17         266,472.03
                           IMAGING COMPAN                 Distribution per Trustee's Motion to Award
                                                          Interim Trustee Compensation a
                                                          Stopped on 03/17/15
09/30/14      1025         TOY NETWORK - MANLEY TOY       Claim 35, Payment 8.38622% Interim                 7100-000                                     437.37         266,034.66
                           DIRECT                         Distribution per Trustee's Motion to Award
                                                          Interim Trustee Compensation a
09/30/14      1026         FEDEX CUSTOMER                 Claim 37, Payment 8.38625% Interim                 7100-000                                    5,460.05        260,574.61
                           INFORMATION SERVICES           Distribution per Trustee's Motion to Award
                                                          Interim Trustee Compensation a
09/30/14      1027         GREEN RESOURCES, INC           Claim 38, Payment 8.38620% Interim                 7100-000                                      79.71         260,494.90
                                                          Distribution per Trustee's Motion to Award
                                                          Interim Trustee Compensation a
09/30/14      1028         NASHVILLE COMPUTER             Claim 39, Payment 8.38625% Interim                 7100-000                                     253.44         260,241.46
                                                          Distribution per Trustee's Motion to Award
                                                          Interim Trustee Compensation a
09/30/14      1029         ALL WRAPPED UP                 Claim 40, Payment 8.38627% Interim                 7100-000                                    2,094.30        258,147.16
                                                          Distribution per Trustee's Motion to Award
                                                          Interim Trustee Compensation a
09/30/14      1030         BRYAN FINANCIAL SERVICES,      Claim 41, Payment 8.38624% Interim                 7100-000                                    5,724.63        252,422.53
                           INC                            Distribution per Trustee's Motion to Award
                                                          Interim Trustee Compensation a
                                                          Voided on 11/03/14
09/30/14      1031         ROADRUNNER FREIGHT             Claim 42, Payment 8.38620% Interim                 7100-000                                     897.14         251,525.39
                                                          Distribution per Trustee's Motion to Award
                                                          Interim Trustee Compensation a
09/30/14      1032         MIAMI SYSTEMS CORP             Claim 43, Payment 8.38624% Interim                 7100-000                                    1,915.56        249,609.83
                                                          Distribution per Trustee's Motion to Award
                                                          Interim Trustee Compensation a
09/30/14      1033         CONTIMA CO                     Claim 44, Payment 8.38639% Interim                 7100-000                                     441.28         249,168.55
                                                          Distribution per Trustee's Motion to Award
                                                          Interim Trustee Compensation a
                                                          Voided on 11/03/14
                 Case 3:08-bk-01429                     Doc 331 Filed 07/16/18 Entered 07/16/18 17:26:24 Desc Main
                                                                              Subtotals :     $0.00   $18,740.34
                                                               Document    Page    29 of 44
{} Asset reference(s)                                                                                                                      Printed: 07/16/2018 05:01 PM        V.14.14
                                                                                Form 2                                                                                        Page: 17

                                                   Cash Receipts And Disbursements Record
Case Number:         308-01429 MFH                                                                Trustee:            SUSAN R. LIMOR, TRUSTEE (620530)
Case Name:           GENESIS, INC., A TENNESSEE CORPORAT                                          Bank Name:          Union Bank
                                                                                                  Account:            ******2578 - No Bank Fee Account
Taxpayer ID #:       **-***1030                                                                   Blanket Bond:       $720,000.00 (per case limit)
Period Ending: 06/30/18                                                                           Separate Bond: N/A

   1             2                         3                                      4                                                5                 6                    7

 Trans.     {Ref #} /                                                                                                         Receipts        Disbursements            Checking
  Date      Check #           Paid To / Received From             Description of Transaction                 T-Code              $                  $               Account Balance
09/30/14      1034         FEDEX NATIONAL LTL             Claim 45, Payment 8.38606% Interim                 7100-000                                      39.63         249,128.92
                                                          Distribution per Trustee's Motion to Award
                                                          Interim Trustee Compensation a
                                                          Voided on 11/03/14
09/30/14      1035         FISKARS BRANDS, INC.           Claim 46, Payment 8.38612% Interim                 7100-000                                     220.81         248,908.11
                                                          Distribution per Trustee's Motion to Award
                                                          Interim Trustee Compensation a
09/30/14      1036         KELLY SERVICES, INC            Claim 47, Payment 8.38625% Interim                 7100-000                                12,512.07           236,396.04
                                                          Distribution per Trustee's Motion to Award
                                                          Interim Trustee Compensation a
09/30/14      1037         AMERICA CARGO EXPRESS          Claim 48, Payment 8.38624% Interim                 7100-000                                    4,682.86        231,713.18
                                                          Distribution per Trustee's Motion to Award
                                                          Interim Trustee Compensation a
09/30/14      1038         COURIER PRINTING CO            Claim 52, Payment 8.38626% Interim                 7100-000                                    3,920.42        227,792.76
                                                          Distribution per Trustee's Motion to Award
                                                          Interim Trustee Compensation a
09/30/14      1039         TEAMWORK                       Claim 53, Payment 8.38725% Interim                 7100-000                                      35.52         227,757.24
                                                          Distribution per Trustee's Motion to Award
                                                          Interim Trustee Compensation a
09/30/14      1040         J. EDWARD FULLER BROTHERS      Claim 54, Payment 8.38625% Interim                 7100-000                                    2,394.97        225,362.27
                           PRINTING,                      Distribution per Trustee's Motion to Award
                                                          Interim Trustee Compensation a
09/30/14      1041         SELECT STAFFING                Claim 56, Payment 8.38624% Interim                 7100-000                                     807.39         224,554.88
                                                          Distribution per Trustee's Motion to Award
                                                          Interim Trustee Compensation a
                                                          Voided on 12/18/14
09/30/14      1042         CREATIVE LAYOUT & DESIGN,      Claim 57, Payment 8.38625% Interim                 7100-000                                    6,941.02        217,613.86
                           INC                            Distribution per Trustee's Motion to Award
                                                          Interim Trustee Compensation a
                                                          Stopped on 03/17/15
09/30/14      1043         ALL-STAR LABOR SERVICES, INC   Claim 58, Payment 8.38625% Interim                 7100-000                                17,879.68           199,734.18
                                                          Distribution per Trustee's Motion to Award
                                                          Interim Trustee Compensation a
09/30/14      1044         HEATHER VERBLE                 Claim 60, Payment 8.38615% Interim                 7100-000                                     357.11         199,377.07
                                                          Distribution per Trustee's Motion to Award
                                                          Interim Trustee Compensation a
09/30/14      1045         PIEDMONT NATURAL GAS           Claim 63, Payment 8.38640% Interim                 7100-000                                     524.15         198,852.92
                           COMPANY                        Distribution per Trustee's Motion to Award
                                                          Interim Trustee Compensation a
09/30/14      1046         REGIONS BANK                   Claim 64, Payment 8.38625% Interim                 7100-000                                13,082.09           185,770.83
                                                          Distribution per Trustee's Motion to Award
                                                          Interim Trustee Compensation a
                 Case 3:08-bk-01429                     Doc 331 Filed 07/16/18 Entered 07/16/18 17:26:24 Desc Main
                                                                              Subtotals :     $0.00   $63,397.72
                                                               Document    Page    30 of 44
{} Asset reference(s)                                                                                                                      Printed: 07/16/2018 05:01 PM        V.14.14
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                                                   Cash Receipts And Disbursements Record
Case Number:         308-01429 MFH                                                                  Trustee:            SUSAN R. LIMOR, TRUSTEE (620530)
Case Name:           GENESIS, INC., A TENNESSEE CORPORAT                                            Bank Name:          Union Bank
                                                                                                    Account:            ******2578 - No Bank Fee Account
Taxpayer ID #:       **-***1030                                                                     Blanket Bond:       $720,000.00 (per case limit)
Period Ending: 06/30/18                                                                             Separate Bond: N/A

   1             2                         3                                         4                                               5                     6                     7

 Trans.     {Ref #} /                                                                                                           Receipts            Disbursements           Checking
  Date      Check #           Paid To / Received From              Description of Transaction                  T-Code              $                      $              Account Balance
10/06/14      {24}         SOS PRINTING LLC               SETTLEMENT PROCEEDS Per Motion for                   1141-000                  270.83                               186,041.66
                                                          Compromise and Settlement filed 08/21/14
                                                          (Doc 164 in Case 3:10-ap-00077); and Order
                                                          Granting Motion entered 09/15/14 (Doc 167 in
                                                          Case 3:10-ap-00077).
10/09/14      1020         WOODY BALLENTINE D/B/A         Claim 29, Payment 8.38631% Trustee is                7100-000                                        -524.48        186,566.14
                           BALLENTINE P                   unable to locate claimant. Therefore, such
                                                          funds will be submitted to the Court. Interim
                                                          Distribution per Trustee's Motion to Award
                                                          Interim Trustee Compensation a
                                                          Voided: check issued on 09/30/14
10/09/14      1047         CLERK OF THE U.S.              Claim 29, Payment 8.38631% Interim                   7100-001                                        524.48         186,041.66
                           BANKRUPTCY COURT               Distribution per Trustee's Motion to Award
                                                          Interim Trustee Compensation and Allow
                                                          Interim Distribution filed 08/08/14 (Doc 215);
                                                          and Agreed Order Between Susan R. Limor,
                                                          Trustee, and United States Trustee entered
                                                          09/15/
10/14/14      1048         MASSA ESTATE GROUP             Storage -August 2014 - October 2014 See              2410-000                                        300.00         185,741.66
                                                          Invoice No. 12, 14 & 16.
10/20/14      1009         F.L. MOTHERAL CO. DBA          Claim 08, Payment 8.38630% Trustee is                7100-000                                        -540.72        186,282.38
                           MOTHERAL PRIN                  unable to locate claimant. Therefore, such
                                                          funds will be submitted to the Court. Interim
                                                          Distribution per Trustee's Motion to Award
                                                          Interim Trustee Compensation a
                                                          Voided: check issued on 09/30/14
10/20/14      1049         CLERK OF THE U.S.              Claim 08, Payment 8.38630% Interim                   7100-001                                        540.72         185,741.66
                           BANKRUPTCY COURT               Distribution per Trustee's Motion to Award
                                                          Interim Trustee Compensation and Allow
                                                          Interim Distribution filed 08/08/14 (Doc 215);
                                                          and Agreed Order Between Susan R. Limor,
                                                          Trustee, and United States Trustee entered
                                                          09/15/
10/28/14                   Union Bank                     Transfer to Rabobank, N.A.                           9999-000                                   185,741.66                    0.00
11/03/14      1030         BRYAN FINANCIAL SERVICES,      Claim 41, Payment 8.38624% Interim                   7100-000                                     -5,724.63                5,724.63
                           INC                            Distribution per Trustee's Motion to Award
                                                          Interim Trustee Compensation a
                                                          Voided: check issued on 09/30/14
11/03/14      1033         CONTIMA CO                     Claim 44, Payment 8.38639% Interim                   7100-000                                        -441.28               6,165.91
                                                          Distribution per Trustee's Motion to Award
                                                          Interim Trustee Compensation a
                                                          Voided: check issued on 09/30/14

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                                                                              Subtotals :    $270.83  $179,875.75
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{} Asset reference(s)                                                                                                                             Printed: 07/16/2018 05:01 PM        V.14.14
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                                                    Cash Receipts And Disbursements Record
Case Number:         308-01429 MFH                                                                Trustee:             SUSAN R. LIMOR, TRUSTEE (620530)
Case Name:           GENESIS, INC., A TENNESSEE CORPORAT                                          Bank Name:           Union Bank
                                                                                                  Account:             ******2578 - No Bank Fee Account
Taxpayer ID #:       **-***1030                                                                   Blanket Bond:        $720,000.00 (per case limit)
Period Ending: 06/30/18                                                                           Separate Bond: N/A

   1             2                          3                                     4                                                 5                    6                     7

 Trans.     {Ref #} /                                                                                                          Receipts           Disbursements            Checking
  Date      Check #           Paid To / Received From             Description of Transaction                  T-Code              $                     $               Account Balance
11/03/14      1034         FEDEX NATIONAL LTL             Claim 45, Payment 8.38606% Interim                 7100-000                                          -39.63              6,205.54
                                                          Distribution per Trustee's Motion to Award
                                                          Interim Trustee Compensation a
                                                          Voided: check issued on 09/30/14
12/18/14      1041         SELECT STAFFING                Claim 56, Payment 8.38624% Interim                 7100-000                                         -807.39              7,012.93
                                                          Distribution per Trustee's Motion to Award
                                                          Interim Trustee Compensation a
                                                          Voided: check issued on 09/30/14
12/18/14                   Transfer to Rabobank, N.A.     Account Transfer                                   9999-000                                        6,205.54               807.39
01/05/15      1050         INTERNATIONAL SURETIES, LTD    BOND PREMIUM PAYMENT ON LEDGER                     2300-000                                         230.70                576.69
                                                          BALANCE AS OF 01/01/2015 FOR CASE
                                                          #08-01429, Blanket Bond for 01/01/15 to
                                                          01/01/16; RE: Bond #016026373
                                                          Voided on 01/05/15
01/05/15      1050         INTERNATIONAL SURETIES, LTD    BOND PREMIUM PAYMENT ON LEDGER                     2300-000                                         -230.70               807.39
                                                          BALANCE AS OF 01/01/2015 FOR CASE
                                                          #08-01429, Blanket Bond for 01/01/15 to
                                                          01/01/16; RE: Bond #016026373
                                                          Voided: check issued on 01/05/15
03/17/15      1024         KONICA MINOLTA DANKA           Claim 33, Payment 8.38610% Interim                 7100-000                                         -163.17               970.56
                           IMAGING COMPAN                 Distribution per Trustee's Motion to Award
                                                          Interim Trustee Compensation a
                                                          Stopped: check issued on 09/30/14
03/17/15      1042         CREATIVE LAYOUT & DESIGN,      Claim 57, Payment 8.38625% Interim                 7100-000                                     -6,941.02                7,911.58
                           INC                            Distribution per Trustee's Motion to Award
                                                          Interim Trustee Compensation a
                                                          Stopped: check issued on 09/30/14
03/18/15                   Transfer to Rabobank, N.A.     Account Transfer                                   9999-000                                        7,911.58                 0.00

                                                                                ACCOUNT TOTALS                                   406,259.84             406,259.84                   $0.00
                                                                                       Less: Bank Transfers                      405,218.18             199,858.78
                                                                                Subtotal                                             1,041.66           206,401.06
                                                                                       Less: Payments to Debtors                                                 0.00
                                                                                NET Receipts / Disbursements                        $1,041.66          $206,401.06




                 Case 3:08-bk-01429                     Doc 331 Filed 07/16/18 Entered 07/16/18 17:26:24                                                          Desc Main
                                                               Document    Page 32 of 44
{} Asset reference(s)                                                                                                                           Printed: 07/16/2018 05:01 PM        V.14.14
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                                                      Cash Receipts And Disbursements Record
Case Number:         308-01429 MFH                                                                      Trustee:            SUSAN R. LIMOR, TRUSTEE (620530)
Case Name:           GENESIS, INC., A TENNESSEE CORPORAT                                                Bank Name:          Rabobank, N.A.
                                                                                                        Account:            ******0466 - Checking Account
Taxpayer ID #:       **-***1030                                                                         Blanket Bond:       $720,000.00 (per case limit)
Period Ending: 06/30/18                                                                                 Separate Bond: N/A

   1             2                            3                                        4                                                5                     6                     7

 Trans.     {Ref #} /                                                                                                               Receipts           Disbursements            Checking
  Date      Check #           Paid To / Received From                  Description of Transaction                  T-Code              $                     $               Account Balance
10/28/14                   Rabobank, N.A.                     Transfer from Union Bank                             9999-000           185,741.66                                  185,741.66
11/13/14      {24}         SOS Printing LLC                   Settlement Proceeds per Motion for                   1141-000                 270.83                                186,012.49
                                                              Compromise and Settlement filed 08/21/14
                                                              (Doc 164 in Case 3:10-ap-00077); and Order
                                                              Granting Motion entered 09/15/14 (Doc 167 in
                                                              Case 3:10-ap-00077).
11/13/14     30101         Massa Estate Group                 Storage - November 2014. See Invoice No. 19          2410-000                                        100.00         185,912.49
12/01/14     30102         Massa Estate Group                 Storage - December 2014. See Invoice No. 21          2410-000                                        100.00         185,812.49
12/08/14      {24}         SOS Printing LLC                   Settlement Proceeds per Motion for                   1141-000                 270.83                                186,083.32
                                                              Compromise and Settlement filed 08/21/14
                                                              (Doc 164 in Case 3:10-ap-00077); and Order
                                                              Granting Motion entered 09/15/14 (Doc 167 in
                                                              Case 3:10-ap-00077).
12/18/14                   Transfer from Union Bank           Account Transfer                                     9999-000              6,205.54                                 192,288.86
12/18/14     30103         United States Bankruptcy Court     Claim 45, Payment 8.38606% Interim                   7100-000                                         39.63         192,249.23
                                                              Distribution per Trustee's Motion to Award
                                                              Interim Trustee Compensation and Allow
                                                              Interim Distribution filed 08/08/14 (Doc 215);
                                                              Agreed Order regarding the same entered
                                                              09/15/14 (Doc 222); and Trustee's Report of
                                                              Unclai
12/18/14     30104         United States Bankruptcy Court     Claim 41, Payment 8.38624% Interim                   7100-000                                       5,724.63        186,524.60
                                                              Distribution per Trustee's Motion to Award
                                                              Interim Trustee Compensation and Allow
                                                              Interim Distribution filed 08/08/14 (Doc 215);
                                                              Agreed Order regarding the same entered
                                                              09/15/14 (Doc 222); and Trustee's Report of
                                                              Unclai
12/18/14     30105         United States Bankruptcy Court     Claim 44, Payment 8.38639% Interim                   7100-000                                        441.28         186,083.32
                                                              Distribution per Trustee's Motion to Award
                                                              Interim Trustee Compensation and Allow
                                                              Interim Distribution filed 08/08/14 (Doc 215);
                                                              Agreed Order regarding the same entered
                                                              09/15/14 (Doc 222); and Trustee's Report of
                                                              Unclai
01/05/15     30106         INTERNATIONAL SURETIES, LTD        Blanket Bond for 01/01/15 to 01/01/16; RE:           2300-000                                        230.70         185,852.62
                                                              Bond #016026373
01/12/15      {24}         SOS Printing LLC                   Settlement Proceeds per Motion for                   1141-000                 270.83                                186,123.45
                                                              Compromise and Settlement filed 08/21/14
                                                              (Doc 164 in Case 3:10-ap-00077); and Order
                                                              Granting Motion entered 09/15/14 (Doc 167 in
                                                              Case 3:10-ap-00077).

                 Case 3:08-bk-01429                         Doc 331 Filed 07/16/18 Entered 07/16/18 17:26:24 Desc Main
                                                                                  Subtotals :   $192,759.69 $6,636.24
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{} Asset reference(s)                                                                                                                                Printed: 07/16/2018 05:01 PM        V.14.14
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                                                         Cash Receipts And Disbursements Record
Case Number:         308-01429 MFH                                                                      Trustee:            SUSAN R. LIMOR, TRUSTEE (620530)
Case Name:           GENESIS, INC., A TENNESSEE CORPORAT                                                Bank Name:          Rabobank, N.A.
                                                                                                        Account:            ******0466 - Checking Account
Taxpayer ID #:       **-***1030                                                                         Blanket Bond:       $720,000.00 (per case limit)
Period Ending: 06/30/18                                                                                 Separate Bond: N/A

   1             2                            3                                        4                                                5                     6                     7

 Trans.     {Ref #} /                                                                                                               Receipts           Disbursements            Checking
  Date      Check #           Paid To / Received From                  Description of Transaction                  T-Code              $                     $               Account Balance
01/22/15     30107         Massa Estate Group                 Storage - January 2015. See Invoice No. 25           2410-000                                        100.00         186,023.45
02/10/15      {24}         SOS Printing LLC                   Settlement Proceeds per Motion for                   1141-000                 270.83                                186,294.28
                                                              Compromise and Settlement filed 08/21/14
                                                              (Doc 164 in Case 3:10-ap-00077); and Order
                                                              Granting Motion entered 09/15/14 (Doc 167 in
                                                              Case 3:10-ap-00077).
02/11/15     30108         Massa Estate Group                 Storage - February 2015. See Invoice No. 28          2410-000                                        100.00         186,194.28
03/06/15     30109         Massa Estate Group                 Storage - March 2015. See Invoice No. 30             2410-000                                        100.00         186,094.28
03/13/15      {24}         SOS Printing LLC                   Settlement Proceeds per Motion for                   1141-000                 270.83                                186,365.11
                                                              Compromise and Settlement filed 08/21/14
                                                              (Doc 164 in Case 3:10-ap-00077); and Order
                                                              Granting Motion entered 09/15/14 (Doc 167 in
                                                              Case 3:10-ap-00077).
03/18/15                   Transfer from Union Bank           Account Transfer                                     9999-000              7,911.58                                 194,276.69
03/19/15     30110         United States Bankruptcy Court     Claim 56, Payment 8.38624% Interim                   7100-000                                        807.39         193,469.30
                                                              Distribution per Trustee's Motion to Award
                                                              Interim Trustee Compensation and Allow
                                                              Interim Distribution filed 08/08/14 (Doc 215);
                                                              Agreed Order regarding the same entered
                                                              09/15/14 (Doc 222); and Trustee's Report of
                                                              Unclai
03/19/15     30111         United States Bankruptcy Court     Claim 33, Payment 8.38610% Interim                   7100-000                                        163.17         193,306.13
                                                              Distribution per Trustee's Motion to Award
                                                              Interim Trustee Compensation and Allow
                                                              Interim Distribution filed 08/08/14 (Doc 215);
                                                              Agreed Order regarding the same entered
                                                              09/15/14 (Doc 222); and Trustee's Report of
                                                              Unclai
03/19/15     30112         United States Bankruptcy Court     Interim Distribution per Trustee's Motion to         7100-000                                       6,941.02        186,365.11
                                                              Award Interim Trustee Compensation and
                                                              Allow Interim Distribution filed 08/08/14 (Doc
                                                              215); Agreed Order regarding the same
                                                              entered 09/15/14 (Doc 222); and Trustee's
                                                              Report of Unclai
03/23/15                   International Sureties, LTD        Refund of premium overcharge                         2300-002                                        -107.31        186,472.42
03/23/15      {28}         William Owens and Therese Tlapek   Settlement Proceeds per Motion to Approve            1241-000             25,000.00                                 211,472.42
                                                              Compromise and Settlement with Defendants
                                                              Therese Tlapek and William Herbert Owens Jr.
                                                              filed 03/26/15 (Doc 246); and Order Approving
                                                              Compromise and Settlement entered 04/23/15
                                                              (Doc 254).
04/07/15      {24}         SOS Printing LLC                   Settlement Proceeds per Motion for                   1141-000                 270.83                                211,743.25
                 Case 3:08-bk-01429                         Doc 331 Filed 07/16/18 Entered 07/16/18 17:26:24 Desc Main
                                                                                  Subtotals :   $33,724.07 $8,104.27
                                                                   Document    Page    34 of 44
{} Asset reference(s)                                                                                                                                Printed: 07/16/2018 05:01 PM        V.14.14
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                                                      Cash Receipts And Disbursements Record
Case Number:         308-01429 MFH                                                                     Trustee:            SUSAN R. LIMOR, TRUSTEE (620530)
Case Name:           GENESIS, INC., A TENNESSEE CORPORAT                                               Bank Name:          Rabobank, N.A.
                                                                                                       Account:            ******0466 - Checking Account
Taxpayer ID #:       **-***1030                                                                        Blanket Bond:       $720,000.00 (per case limit)
Period Ending: 06/30/18                                                                                Separate Bond: N/A

   1             2                            3                                        4                                               5                     6                     7

 Trans.     {Ref #} /                                                                                                              Receipts           Disbursements          Checking
  Date      Check #           Paid To / Received From                 Description of Transaction                  T-Code              $                     $             Account Balance
                                                              Compromise and Settlement filed 08/21/14
                                                              (Doc 164 in Case 3:10-ap-00077); and Order
                                                              Granting Motion entered 09/15/14 (Doc 167 in
                                                              Case 3:10-ap-00077).
04/13/15     30113         Massa Estate Group                 Storage - April 2015. See Invoice No. 32.           2410-000                                       100.00        211,643.25
05/08/15      {28}         William Owens and Therese Tlapek   Settlement Proceeds                                 1241-000             25,000.00                               236,643.25
05/08/15      {28}         William Owens and Therese Tlapek   Settlement Proceeds per Motion to Approve           1241-000             50,000.00                               286,643.25
                                                              Compromise and Settlement with Defendants
                                                              Therese Tlapek and William Herbert Owens Jr.
                                                              filed 03/26/15 (Doc 246); and Order Approving
                                                              Compromise and Settlement entered 04/23/15
                                                              (Doc 254).
05/08/15      {28}         William Owens and Therese Tlapek   Reversed Deposit 100009 1 Settlement                1241-000            -25,000.00                               261,643.25
                                                              Proceeds
05/11/15      {28}         William Owens and Therese Tlapek   Settlement Proceeds per Motion to Approve           1241-000              3,125.00                               264,768.25
                                                              Compromise and Settlement with Defendants
                                                              Therese Tlapek and William Herbert Owens Jr.
                                                              filed 03/26/15 (Doc 246); and Order Approving
                                                              Compromise and Settlement entered 04/23/15
                                                              (Doc 254).
05/11/15      {24}         SOS Printing LLC                   Settlement Proceeds per Motion for                  1141-000                 270.83                              265,039.08
                                                              Compromise and Settlement filed 08/21/14
                                                              (Doc 164 in Case 3:10-ap-00077); and Order
                                                              Granting Motion entered 09/15/14 (Doc 167 in
                                                              Case 3:10-ap-00077).
05/11/15     30114         Massa Estate Group                 Storage - May 2015. See Invoice No. 35.             2410-000                                       100.00        264,939.08
05/11/15     30115         David G. Rogers, Esquire           Special Counsel Fees per Trustee's Motion for       3210-000                                   56,513.72         208,425.36
                                                              Allowance of Compensation and
                                                              Reimbursement of Expenses to Attorney for
                                                              Trustee filed 03/26/15 (Doc 243); and Order
                                                              Granting the First Interim Application of David
                                                              G. Rogers entered 04/23/15 (Doc 255).
05/11/15     30116         David G. Rogers, Esquire           Special Counsel Expenses per Trustee's              3220-000                                        87.33        208,338.03
                                                              Motion for Allowance of Compensation and
                                                              Reimbursement of Expenses to Attorney for
                                                              Trustee filed 03/26/15 (Doc 243); and Order
                                                              Granting the First Interim Application of David
                                                              G. Rogers entered 04/23/15 (Doc 255).
05/11/15     30117         Harwell Howard Hyne Gabbert &      Special Counsel Fees per First Interim              3210-000                                   56,895.52         151,442.51
                           Manner, P.C.                       Application of H3GM…for Allowance of Interim
                                                              Compensation and Reimbursement of
                                                              Expenses filed 03/26/15 (Doc 245); and Order

                 Case 3:08-bk-01429                        Doc 331 Filed 07/16/18 Entered 07/16/18 17:26:24 Desc Main
                                                                                 Subtotals :   $53,395.83 $113,696.57
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{} Asset reference(s)                                                                                                                               Printed: 07/16/2018 05:01 PM        V.14.14
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                                                      Cash Receipts And Disbursements Record
Case Number:         308-01429 MFH                                                                     Trustee:            SUSAN R. LIMOR, TRUSTEE (620530)
Case Name:           GENESIS, INC., A TENNESSEE CORPORAT                                               Bank Name:          Rabobank, N.A.
                                                                                                       Account:            ******0466 - Checking Account
Taxpayer ID #:       **-***1030                                                                        Blanket Bond:       $720,000.00 (per case limit)
Period Ending: 06/30/18                                                                                Separate Bond: N/A

   1             2                            3                                        4                                               5                     6                     7

 Trans.     {Ref #} /                                                                                                              Receipts           Disbursements            Checking
  Date      Check #           Paid To / Received From                 Description of Transaction                  T-Code              $                     $               Account Balance
                                                              Granting the First Interim Application of H3GM
                                                              entered 04/23/15 (Doc 256).
05/11/15     30118         Harwell Howard Hyne Gabbert &      Special Counsel Expenses per First Interim          3220-000                                       1,171.68        150,270.83
                           Manner, P.C.                       Application of H3GM…for Allowance of Interim
                                                              Compensation and Reimbursement of
                                                              Expenses filed 03/26/15 (Doc 245); and Order
                                                              Granting the First Interim Application of H3GM
                                                              entered 04/23/15 (Doc 256).
06/02/15      {28}         William Owens and Therese Tlapek   Settlement Proceeds per Motion to Approve           1241-000              3,125.00                                 153,395.83
                                                              Compromise and Settlement with Defendants
                                                              Therese Tlapek and William Herbert Owens Jr.
                                                              filed 03/26/15 (Doc 246); and Order Approving
                                                              Compromise and Settlement entered 04/23/15
                                                              (Doc 254).
06/10/15      {24}         SOS Printing LLC                   Settlement Proceeds per Motion for                  1141-000                 270.83                                153,666.66
                                                              Compromise and Settlement filed 08/21/14
                                                              (Doc 164 in Case 3:10-ap-00077); and Order
                                                              Granting Motion entered 09/15/14 (Doc 167 in
                                                              Case 3:10-ap-00077).
07/02/15      {28}         William Owens and Therese Tlapek   Settlement Proceeds per Motion to Approve           1241-000              3,125.00                                 156,791.66
                                                              Compromise and Settlement with Defendants
                                                              Therese Tlapek and William Herbert Owens Jr.
                                                              filed 03/26/15 (Doc 246); and Order Approving
                                                              Compromise and Settlement entered 04/23/15
                                                              (Doc 254).
07/07/15      {24}         SOS Printing LLC                   Settlement Proceeds per Motion for                  1141-000                 270.83                                157,062.49
                                                              Compromise and Settlement filed 08/21/14
                                                              (Doc 164 in Case 3:10-ap-00077); and Order
                                                              Granting Motion entered 09/15/14 (Doc 167 in
                                                              Case 3:10-ap-00077).
07/10/15     30119         Massa Estate Group                 Storage - June & July 2015. See Invoice Nos.        2410-000                                        200.00         156,862.49
                                                              41 & 39.
07/13/15     30120         David G. Rogers, Esquire           Special Counsel Fees per Trustee's Motion for       3210-000                                   22,749.28           134,113.21
                                                              Allowance of Compensation and
                                                              Reimbursement of Expenses to Attorney for
                                                              Trustee filed 03/26/15 (Doc 243); and Order
                                                              Granting the First Interim Application of David
                                                              G. Rogers entered 04/23/15 (Doc 255).
07/13/15     30121         David G. Rogers, Esquire           Special Counsel Expenses per Trustee's              3220-000                                         35.15         134,078.06
                                                              Motion for Allowance of Compensation and
                                                              Reimbursement of Expenses to Attorney for
                                                              Trustee filed 03/26/15 (Doc 243); and Order

                 Case 3:08-bk-01429                        Doc 331 Filed 07/16/18 Entered 07/16/18 17:26:24 Desc Main
                                                                                 Subtotals :   $6,791.66 $24,156.11
                                                                  Document    Page    36 of 44
{} Asset reference(s)                                                                                                                               Printed: 07/16/2018 05:01 PM        V.14.14
                                                                                     Form 2                                                                                            Page: 24

                                                   Cash Receipts And Disbursements Record
Case Number:         308-01429 MFH                                                                     Trustee:            SUSAN R. LIMOR, TRUSTEE (620530)
Case Name:           GENESIS, INC., A TENNESSEE CORPORAT                                               Bank Name:          Rabobank, N.A.
                                                                                                       Account:            ******0466 - Checking Account
Taxpayer ID #:       **-***1030                                                                        Blanket Bond:       $720,000.00 (per case limit)
Period Ending: 06/30/18                                                                                Separate Bond: N/A

   1             2                             3                                       4                                               5                     6                     7

 Trans.     {Ref #} /                                                                                                              Receipts           Disbursements          Checking
  Date      Check #           Paid To / Received From                 Description of Transaction                  T-Code              $                     $             Account Balance
                                                              Granting the First Interim Application of David
                                                              G. Rogers entered 04/23/15 (Doc 255).
07/13/15     30122         Harwell Howard Hyne Gabbert &      Special Counsel Fees per First Interim              3210-000                                   22,902.98         111,175.08
                           Manner, P.C.                       Application of H3GM…for Allowance of Interim
                                                              Compensation and Reimbursement of
                                                              Expenses filed 03/26/15 (Doc 245); and Order
                                                              Granting the First Interim Application of H3GM
                                                              entered 04/23/15 (Doc 256).
07/13/15     30123         Harwell Howard Hyne Gabbert &      Special Counsel Expenses per First Interim          3220-000                                       471.66        110,703.42
                           Manner, P.C.                       Application of H3GM…for Allowance of Interim
                                                              Compensation and Reimbursement of
                                                              Expenses filed 03/26/15 (Doc 245); and Order
                                                              Granting the First Interim Application of H3GM
                                                              entered 04/23/15 (Doc 256).
07/24/15      {28}         First National Bank                Settlement proceeds per Order entered               1241-000              5,000.00                               115,703.42
                                                              04/06/15 (Doc 184 in Case 3:10-ap-00087).
08/03/15      {28}         William Owens and Therese Tlapek   Settlement Proceeds per Motion to Approve           1241-000              3,125.00                               118,828.42
                                                              Compromise and Settlement with Defendants
                                                              Therese Tlapek and William Herbert Owens Jr.
                                                              filed 03/26/15 (Doc 246); and Order Approving
                                                              Compromise and Settlement entered 04/23/15
                                                              (Doc 254).
08/07/15      {26}         Dennis L. Bosio                    Settlement Proceeds per Order Approving             1241-000             82,500.00                               201,328.42
                                                              Compromise and Settlement with Defendant
                                                              Dennis Bosio entered 07/23/15 (Doc 197 in
                                                              Case 3:10-ap-00087).
08/07/15     30124         Massa Estate Group                 Storage - August 2015. See Invoice No. 43.          2410-000                                       100.00        201,228.42
08/10/15      {24}         SOS Printing LLC                   Settlement Proceeds per Motion for                  1141-000                 270.83                              201,499.25
                                                              Compromise and Settlement filed 08/21/14
                                                              (Doc 164 in Case 3:10-ap-00077); and Order
                                                              Granting Motion entered 09/15/14 (Doc 167 in
                                                              Case 3:10-ap-00077).
08/10/15      {25}         BB&T                               Settlement Proceeds per Order Approving             1241-000             12,000.00                               213,499.25
                                                              Settlement with Defendant Branh Banking and
                                                              Trust Company entered 08/10/15 (Doc 110 in
                                                              Case 3:10-ap-00085)
08/21/15      {26}         Jeffrey M. Maiers                  Settlement Proceeds per Order Approving             1241-000             12,000.00                               225,499.25
                                                              Settlement with Defendant Jeff Maiers entered
                                                              08/10/15 (Doc 204 in Case 3:10-ap-00087)
09/09/15     30125         Massa Estate Group                 Storage - September 2015. See Invoice No. 45. 2410-000                                             100.00        225,399.25
09/30/15      {27}         National Imports LLC               Dale Silverman/National Imports Settlement          1241-000              3,000.00                               228,399.25
                                                              Proceeds per Motion to Approve Compromise
                 Case 3:08-bk-01429                        Doc 331 Filed 07/16/18 Entered 07/16/18 17:26:24 Desc Main
                                                                                 Subtotals :   $117,895.83 $23,574.64
                                                                  Document    Page    37 of 44
{} Asset reference(s)                                                                                                                               Printed: 07/16/2018 05:01 PM        V.14.14
                                                                                       Form 2                                                                                           Page: 25

                                                     Cash Receipts And Disbursements Record
Case Number:         308-01429 MFH                                                                       Trustee:            SUSAN R. LIMOR, TRUSTEE (620530)
Case Name:           GENESIS, INC., A TENNESSEE CORPORAT                                                 Bank Name:          Rabobank, N.A.
                                                                                                         Account:            ******0466 - Checking Account
Taxpayer ID #:       **-***1030                                                                          Blanket Bond:       $720,000.00 (per case limit)
Period Ending: 06/30/18                                                                                  Separate Bond: N/A

   1             2                          3                                           4                                                5                    6                     7

 Trans.     {Ref #} /                                                                                                                Receipts          Disbursements          Checking
  Date      Check #           Paid To / Received From                    Description of Transaction                 T-Code              $                    $             Account Balance
                                                                 and Settlements with Certain Defendants filed
                                                                 08/27/15 (Doc 213 in Case 3:10-ap-00087);
                                                                 and Order Approving Settlements with Certain
                                                                 Defendants entered 09/22/15 (Doc 219
09/30/15      {27}         American Fundraising Services, Inc.   Don Doerfling Settlement Proceeds per Motion       1241-000              1,553.12                              229,952.37
                                                                 to Approve Compromise and Settlements with
                                                                 Certain Defendants filed 08/27/15 (Doc 213 in
                                                                 Case 3:10-ap-00087); and Order Approving
                                                                 Settlements with Certain Defendants entered
                                                                 09/22/15 (Doc 219
10/01/15      {28}         William Owens and Therese Tlapek      RCVD 09.08.15; NEEDS TO BE CORRECTED               1241-000              3,125.00                              233,077.37
                                                                 - Settlement Proceeds per Motion to Approve
                                                                 Compromise and Settlement with Defendants
                                                                 Therese Tlapek and William Herbert Owens Jr.
                                                                 filed 03/26/15 (Doc 246); and Order Approving
                                                                 Compromise and Settlement entered 04/23/
10/01/15      {28}         William Owens and Therese Tlapek      CLEARED 10.01.15; NEEDS TO BE                      1241-000              3,125.00                              236,202.37
                                                                 CORRECTED Settlement Proceeds per Motion
                                                                 to Approve Compromise and Settlement with
                                                                 Defendants Therese Tlapek and William
                                                                 Herbert Owens Jr. filed 03/26/15 (Doc 246);
                                                                 and Order Approving Compromise and
                                                                 Settlement entered 04/23
10/01/15      {30}         CLERICAL ERROR                                                                           1280-000             -3,125.00                              233,077.37
10/12/15      {27}         Coastal Fundraising Concepts, Inc.    Keith Ellenson Settlement Proceeds per Motion      1241-000              3,500.55                              236,577.92
                                                                 to Approve Compromise and Settlements with
                                                                 Certain Defendants filed 08/27/15 (Doc 213 in
                                                                 Case 3:10-ap-00087); and Order Approving
                                                                 Settlements with Certain Defendants entered
                                                                 09/22/15 (Doc 219
10/12/15      {30}         CLERICAL ERROR                                                                           1280-000              3,125.00                              239,702.92
10/15/15     30126         Massa Estate Group                    Storage - October 2015. See Invoice No. 47.        2410-000                                      100.00        239,602.92
11/02/15      {28}         William Owens and Therese Tlapek      Settlement Proceeds per Motion to Approve          1241-000              3,125.00                              242,727.92
                                                                 Compromise and Settlement with Defendants
                                                                 Therese Tlapek and William Herbert Owens Jr.
                                                                 filed 03/26/15 (Doc 246); and Order Approving
                                                                 Compromise and Settlement entered 04/23/15
                                                                 (Doc 254).
11/02/15      {24}         Windstream Corporation                Nuvox Settlement Proceeds per Order entered        1141-000              5,000.00                              247,727.92
                                                                 10/23/15 (Doc 183 in Case 3:10-ap-00077)
11/10/15      {24}         Deborah G. Choate                     Springtime Cleaning Settlement Proceeds per        1141-000              2,000.00                              249,727.92
                                                                 Order entered 08/21/15 (Doc 209 in Case

                 Case 3:08-bk-01429                         Doc 331 Filed 07/16/18 Entered 07/16/18 17:26:24 Desc Main
                                                                                  Subtotals :   $21,428.67  $100.00
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{} Asset reference(s)                                                                                                                                Printed: 07/16/2018 05:01 PM        V.14.14
                                                                                    Form 2                                                                                            Page: 26

                                                       Cash Receipts And Disbursements Record
Case Number:         308-01429 MFH                                                                     Trustee:            SUSAN R. LIMOR, TRUSTEE (620530)
Case Name:           GENESIS, INC., A TENNESSEE CORPORAT                                               Bank Name:          Rabobank, N.A.
                                                                                                       Account:            ******0466 - Checking Account
Taxpayer ID #:       **-***1030                                                                        Blanket Bond:       $720,000.00 (per case limit)
Period Ending: 06/30/18                                                                                Separate Bond: N/A

   1             2                          3                                         4                                                5                    6                     7

 Trans.     {Ref #} /                                                                                                              Receipts          Disbursements            Checking
  Date      Check #           Paid To / Received From                 Description of Transaction                  T-Code              $                    $               Account Balance
                                                              3:10-ap-00087).
11/18/15      {27}         Harwell Howard Hyne Gabbert &      Nate Doggett Settlement Proceeds per Order          1241-000             12,000.00                                261,727.92
                           Manner, PC                         Approving Settlement with Nate Doggett
                                                              entered 11/13/15 (Doc 229 in Case
                                                              3:10-ap-00087).
12/07/15      {28}         William Owens and Therese Tlapek   Settlement Proceeds per Motion to Approve           1241-000              3,125.00                                264,852.92
                                                              Compromise and Settlement with Defendants
                                                              Therese Tlapek and William Herbert Owens Jr.
                                                              filed 03/26/15 (Doc 246); and Order Approving
                                                              Compromise and Settlement entered 04/23/15
                                                              (Doc 254).
12/29/15     30127         Harwell Howard Hyne Gabbert &      Special Counsel Fees per Second Interim             3210-000                                  40,605.50           224,247.42
                           Manner, P.C.                       Application of Harwell Howard Hyne Gabbert &
                                                              Manner, P.C….filed 11/03/15 (Doc 297); and
                                                              Order Granting Second Interim
                                                              Application…entered 12/03/15 (Doc 311).
12/29/15     30128         Harwell Howard Hyne Gabbert &      Special Counsel Expenses per Second Interim         3220-000                                      2,126.78        222,120.64
                           Manner, P.C.                       Application of Harwell Howard Hyne Gabbert &
                                                              Manner, P.C….filed 11/03/15 (Doc 297); and
                                                              Order Granting Second Interim
                                                              Application…entered 12/03/15 (Doc 311).
12/29/15     30129         David G. Rogers, Esquire           Special Counsel Fees per Second Motion…of           3210-000                                  15,584.00           206,536.64
                                                              David G. Rogers…for Allowance of
                                                              Compensation…filed 11/10/15 (Doc 299); and
                                                              Order Awarding Compensation entered
                                                              12/03/15 (Doc 310).
12/29/15     30130         David G. Rogers, Esquire           Special Counsel Expenses per Second                 3220-000                                       185.99         206,350.65
                                                              Motion…of David G. Rogers…for Allowance of
                                                              Compensation…filed 11/10/15 (Doc 299); and
                                                              Order Awarding Compensation entered
                                                              12/03/15 (Doc 310).
12/29/15     30131         Kraft CPAS Turnaround &            Accountant Fees per Sixth Application of Kraft      3410-000                                      3,572.50        202,778.15
                           Restructuring Group, PLLC          CPAS Turnaround and Restructuring Group,
                                                              PLLC for Allowance of Compensation…filed
                                                              11/10/15 (Doc 298); and Order Awarding
                                                              Compensation entered 12/03/15 (Doc 309).
12/29/15     30132         Kraft CPAS Turnaround &            Accountant Expenses per Sixth Application of        3420-000                                        20.00         202,758.15
                           Restructuring Group, PLLC          Kraft CPAS Turnaround and Restructuring
                                                              Group, PLLC for Allowance of
                                                              Compensation…filed 11/10/15 (Doc 298); and
                                                              Order Awarding Compensation entered
                                                              12/03/15 (Doc 309).

                 Case 3:08-bk-01429                        Doc 331 Filed 07/16/18 Entered 07/16/18 17:26:24 Desc Main
                                                                                 Subtotals :   $15,125.00 $62,094.77
                                                                  Document    Page    39 of 44
{} Asset reference(s)                                                                                                                              Printed: 07/16/2018 05:01 PM        V.14.14
                                                                                      Form 2                                                                                          Page: 27

                                                   Cash Receipts And Disbursements Record
Case Number:         308-01429 MFH                                                                     Trustee:            SUSAN R. LIMOR, TRUSTEE (620530)
Case Name:           GENESIS, INC., A TENNESSEE CORPORAT                                               Bank Name:          Rabobank, N.A.
                                                                                                       Account:            ******0466 - Checking Account
Taxpayer ID #:       **-***1030                                                                        Blanket Bond:       $720,000.00 (per case limit)
Period Ending: 06/30/18                                                                                Separate Bond: N/A

   1             2                         3                                          4                                                5                    6                     7

 Trans.     {Ref #} /                                                                                                              Receipts          Disbursements          Checking
  Date      Check #           Paid To / Received From                 Description of Transaction                  T-Code              $                    $             Account Balance
01/04/16      {28}         William Owens and Therese Tlapek   Settlement Proceeds per Motion to Approve           1241-000              3,125.00                              205,883.15
                                                              Compromise and Settlement with Defendants
                                                              Therese Tlapek and William Herbert Owens Jr.
                                                              filed 03/26/15 (Doc 246); and Order Approving
                                                              Compromise and Settlement entered 04/23/15
                                                              (Doc 254).
01/27/16     30133         Massa Estate Group                 Storage - November 2015 thru January 2016.          2410-000                                      300.00        205,583.15
                                                              See Invoice Nos. 51, 52 & 55.
01/27/16     30134         INTERNATIONAL SURETIES, LTD        BOND PREMIUM PAYMENT ON LEDGER                      2300-000                                      103.97        205,479.18
                                                              BALANCE AS OF 01/01/2016 FOR CASE
                                                              #308-01429, Chapter 7 Blanket Bond from
                                                              01/01/16 to 01/01/17
02/01/16      {28}         William Owens and Therese Tlapek   Settlement Proceeds per Motion to Approve           1241-000              3,125.00                              208,604.18
                                                              Compromise and Settlement with Defendants
                                                              Therese Tlapek and William Herbert Owens Jr.
                                                              filed 03/26/15 (Doc 246); and Order Approving
                                                              Compromise and Settlement entered 04/23/15
                                                              (Doc 254).
03/02/16      {28}         William Owens and Therese Tlapek   Settlement Proceeds per Motion to Approve           1241-000              3,125.00                              211,729.18
                                                              Compromise and Settlement with Defendants
                                                              Therese Tlapek and William Herbert Owens Jr.
                                                              filed 03/26/15 (Doc 246); and Order Approving
                                                              Compromise and Settlement entered 04/23/15
                                                              (Doc 254).
03/03/16     30135         Massa Estate Group                 Storage - February 2016 & March 2016. See           2410-000                                      200.00        211,529.18
                                                              Invoice Nos. 57 & 58.
04/04/16      {28}         William Owens and Therese Tlapek   Settlement Proceeds per Motion to Approve           1241-000              3,125.00                              214,654.18
                                                              Compromise and Settlement with Defendants
                                                              Therese Tlapek and William Herbert Owens Jr.
                                                              filed 03/26/15 (Doc 246); and Order Approving
                                                              Compromise and Settlement entered 04/23/15
                                                              (Doc 254).
04/14/16     30136         Massa Estate Group                 Storage - April 2016. See Invoice No. 61.           2410-000                                      100.00        214,554.18
05/03/16      {28}         William Owens and Therese Tlapek   Settlement Proceeds per Motion to Approve           1241-000              3,125.00                              217,679.18
                                                              Compromise and Settlement with Defendants
                                                              Therese Tlapek and William Herbert Owens Jr.
                                                              filed 03/26/15 (Doc 246); and Order Approving
                                                              Compromise and Settlement entered 04/23/15
                                                              (Doc 254).
05/03/16     30137         Massa Estate Group                 Storage - May 2016. See Invoice No. 63.             2410-000                                      100.00        217,579.18
05/13/16      {27}         Nate Doggett                       Nate Doggett Settlement Proceeds per Order          1241-000              9,000.00                              226,579.18
                                                              Approving Settlement with Nate Doggett

                 Case 3:08-bk-01429                       Doc 331 Filed 07/16/18 Entered 07/16/18 17:26:24 Desc Main
                                                                                Subtotals :   $24,625.00  $803.97
                                                                 Document    Page    40 of 44
{} Asset reference(s)                                                                                                                              Printed: 07/16/2018 05:01 PM        V.14.14
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                                                   Cash Receipts And Disbursements Record
Case Number:         308-01429 MFH                                                                       Trustee:            SUSAN R. LIMOR, TRUSTEE (620530)
Case Name:           GENESIS, INC., A TENNESSEE CORPORAT                                                 Bank Name:          Rabobank, N.A.
                                                                                                         Account:            ******0466 - Checking Account
Taxpayer ID #:       **-***1030                                                                          Blanket Bond:       $720,000.00 (per case limit)
Period Ending: 06/30/18                                                                                  Separate Bond: N/A

   1             2                         3                                          4                                                  5                    6                     7

 Trans.     {Ref #} /                                                                                                                Receipts          Disbursements          Checking
  Date      Check #           Paid To / Received From                 Description of Transaction                    T-Code              $                    $             Account Balance
                                                              entered 11/13/15 (Doc 229 in Case
                                                              3:10-ap-00087).
06/03/16      {28}         William Owens and Therese Tlapek   Settlement Proceeds per Motion to Approve             1241-000              3,125.00                              229,704.18
                                                              Compromise and Settlement with Defendants
                                                              Therese Tlapek and William Herbert Owens Jr.
                                                              filed 03/26/15 (Doc 246); and Order Approving
                                                              Compromise and Settlement entered 04/23/15
                                                              (Doc 254).
06/10/16     30138         Massa Estate Group                 Storage - June 2016. See Invoice No. 68.              2410-000                                      100.00        229,604.18
07/01/16     30139         Massa Estate Group                 Storage - July 2016. See Invoice No. 70.              2410-000                                      100.00        229,504.18
07/05/16      {27}         Nate Doggett                       Nate Doggett Settlement Proceeds per Order            1241-000              3,500.00                              233,004.18
                                                              Approving Settlement with Nate Doggett
                                                              entered 11/13/15 (Doc 229 in Case
                                                              3:10-ap-00087).
07/05/16      {28}         William Owens and Therese Tlapek   Settlement Proceeds per Motion to Approve             1241-000              3,125.00                              236,129.18
                                                              Compromise and Settlement with Defendants
                                                              Therese Tlapek and William Herbert Owens Jr.
                                                              filed 03/26/15 (Doc 246); and Order Approving
                                                              Compromise and Settlement entered 04/23/15
                                                              (Doc 254).
08/08/16      {28}         William Owens and Therese Tlapek   Settlement Proceeds per Motion to Approve             1241-000              3,125.00                              239,254.18
                                                              Compromise and Settlement with Defendants
                                                              Therese Tlapek and William Herbert Owens Jr.
                                                              filed 03/26/15 (Doc 246); and Order Approving
                                                              Compromise and Settlement entered 04/23/15
                                                              (Doc 254).
08/10/16     30140         Massa Estate Group                 Storage - August 2016. See Invoice No. 72.            2410-000                                      100.00        239,154.18
09/12/16      {28}         William Owens and Therese Tlapek   Settlement Proceeds per Motion to Approve             1241-000              3,125.00                              242,279.18
                                                              Compromise and Settlement with Defendants
                                                              Therese Tlapek and William Herbert Owens Jr.
                                                              filed 03/26/15 (Doc 246); and Order Approving
                                                              Compromise and Settlement entered 04/23/15
                                                              (Doc 254).
10/04/16      {28}         William Owens and Therese Tlapek   Settlement Proceeds per Motion to Approve             1241-000              3,125.00                              245,404.18
                                                              Compromise and Settlement with Defendants
                                                              Therese Tlapek and William Herbert Owens Jr.
                                                              filed 03/26/15 (Doc 246); and Order Approving
                                                              Compromise and Settlement entered 04/23/15
                                                              (Doc 254).
10/13/16     30141         Massa Estate Group                 Storage - September and October 2016. See             2410-000                                      200.00        245,204.18
                                                              Invoice No. 76 & 77.
10/13/16      {28}         William Owens and Therese Tlapek   Reversed Deposit 100043 1 - CHECK                     1241-000             -3,125.00                              242,079.18
                 Case 3:08-bk-01429                       Doc 331 Filed 07/16/18 Entered 07/16/18 17:26:24 Desc Main
                                                                                Subtotals :   $16,000.00  $500.00
                                                                 Document    Page    41 of 44
{} Asset reference(s)                                                                                                                                Printed: 07/16/2018 05:01 PM        V.14.14
                                                                                   Form 2                                                                                            Page: 29

                                                   Cash Receipts And Disbursements Record
Case Number:         308-01429 MFH                                                                    Trustee:            SUSAN R. LIMOR, TRUSTEE (620530)
Case Name:           GENESIS, INC., A TENNESSEE CORPORAT                                              Bank Name:          Rabobank, N.A.
                                                                                                      Account:            ******0466 - Checking Account
Taxpayer ID #:       **-***1030                                                                       Blanket Bond:       $720,000.00 (per case limit)
Period Ending: 06/30/18                                                                               Separate Bond: N/A

   1             2                         3                                         4                                                5                    6                     7

 Trans.     {Ref #} /                                                                                                             Receipts          Disbursements          Checking
  Date      Check #           Paid To / Received From                 Description of Transaction                 T-Code              $                    $             Account Balance
                                                              RETURNED "UNCOLLECTED FUNDS HOLD"
10/18/16      {28}         William Owens and Therese Tlapek   Settlement Proceeds per Motion to Approve          1241-000              3,125.00                              245,204.18
                                                              Compromise and Settlement with Defendants
                                                              Therese Tlapek and William Herbert Owens Jr.
                                                              filed 03/26/15 (Doc 246); and Order Approving
                                                              Compromise and Settlement entered 04/23/15
                                                              (Doc 254).
11/07/16      {28}         William Owens and Therese Tlapek   Settlement Proceeds per Motion to Approve          1241-000              3,125.00                              248,329.18
                                                              Compromise and Settlement with Defendants
                                                              Therese Tlapek and William Herbert Owens Jr.
                                                              filed 03/26/15 (Doc 246); and Order Approving
                                                              Compromise and Settlement entered 04/23/15
                                                              (Doc 254).
11/23/16     30142         Massa Estate Group                 Storage - November 2016. See Invoice No. 94.       2410-000                                      100.00        248,229.18
12/06/16      {28}         William Owens and Therese Tlapek   Settlement Proceeds per Motion to Approve          1241-000              3,125.00                              251,354.18
                                                              Compromise and Settlement with Defendants
                                                              Therese Tlapek and William Herbert Owens Jr.
                                                              filed 03/26/15 (Doc 246); and Order Approving
                                                              Compromise and Settlement entered 04/23/15
                                                              (Doc 254).
01/09/17      {28}         William Owens and Therese Tlapek   Settlement Proceeds per Motion to Approve          1241-000              3,125.00                              254,479.18
                                                              Compromise and Settlement with Defendants
                                                              Therese Tlapek and William Herbert Owens Jr.
                                                              filed 03/26/15 (Doc 246); and Order Approving
                                                              Compromise and Settlement entered 04/23/15
                                                              (Doc 254).
02/07/17      {28}         William Owens and Therese Tlapek   Settlement Proceeds per Motion to Approve          1241-000              3,125.00                              257,604.18
                                                              Compromise and Settlement with Defendants
                                                              Therese Tlapek and William Herbert Owens Jr.
                                                              filed 03/26/15 (Doc 246); and Order Approving
                                                              Compromise and Settlement entered 04/23/15
                                                              (Doc 254).
02/21/17     30143         INTERNATIONAL SURETIES, LTD        BOND PREMIUM PAYMENT ON LEDGER                     2300-000                                      109.51        257,494.67
                                                              BALANCE AS OF 01/01/2017 FOR CASE
                                                              #308-01429, Chapter 7 Blanket Bond; Bond #
                                                              016026373; Term: 01/01/07 to 01/01/08
03/08/17      {28}         William Owens and Therese Tlapek   Settlement Proceeds per Motion to Approve          1241-000              3,125.00                              260,619.67
                                                              Compromise and Settlement with Defendants
                                                              Therese Tlapek and William Herbert Owens Jr.
                                                              filed 03/26/15 (Doc 246); and Order Approving
                                                              Compromise and Settlement entered 04/23/15
                                                              (Doc 254).

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                                                                                Subtotals :   $18,750.00  $209.51
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{} Asset reference(s)                                                                                                                             Printed: 07/16/2018 05:01 PM        V.14.14
                                                                                     Form 2                                                                                           Page: 30

                                                    Cash Receipts And Disbursements Record
Case Number:         308-01429 MFH                                                                     Trustee:            SUSAN R. LIMOR, TRUSTEE (620530)
Case Name:           GENESIS, INC., A TENNESSEE CORPORAT                                               Bank Name:          Rabobank, N.A.
                                                                                                       Account:            ******0466 - Checking Account
Taxpayer ID #:       **-***1030                                                                        Blanket Bond:       $720,000.00 (per case limit)
Period Ending: 06/30/18                                                                                Separate Bond: N/A

   1             2                          3                                          4                                               5                    6                     7

 Trans.     {Ref #} /                                                                                                              Receipts          Disbursements          Checking
  Date      Check #           Paid To / Received From                 Description of Transaction                  T-Code              $                    $             Account Balance
03/09/17     30144         Massa Estate Group                 Storage - December 2016 & January 2017. See 2410-000                                              200.00        260,419.67
                                                              Invoice No. 96 & 98.
04/05/17      {28}         William Owens and Therese Tlapek   Settlement Proceeds per Motion to Approve           1241-000              3,125.00                              263,544.67
                                                              Compromise and Settlement with Defendants
                                                              Therese Tlapek and William Herbert Owens Jr.
                                                              filed 03/26/15 (Doc 246); and Order Approving
                                                              Compromise and Settlement entered 04/23/15
                                                              (Doc 254).
05/16/17     30145         Massa Estate Group                 Storage - February 2017 thru April 2017. See        2410-000                                      300.00        263,244.67
                                                              Invoice No. 106 & 101.
11/07/17     30146         Massa Estate Group                 Storage - May 2017 thru November 2017. See          2410-000                                      700.00        262,544.67
                                                              Invoice No. 108 & 115.
01/26/18     30147         INTERNATIONAL SURETIES, LTD        BOND PREMIUM PAYMENT ON LEDGER                      2300-000                                      118.53        262,426.14
                                                              BALANCE AS OF 01/01/2018 FOR CASE
                                                              #308-01429, Chapter 7 Blanket Bond for
                                                              01/01/18 to 01/01/19; Bond #016026373
03/14/18     30148         United States Treasury             EIN XX-XXXXXXX Minimum Late Filing Penalty          2810-000                                      135.00        262,291.14
                                                              Form 1120 for Period Ended 12/31/10
03/14/18     30149         Tennessee Department of Revenue    Balance Due for TN Form FAE 170 for Period          2820-000                                      175.00        262,116.14
                                                              Ending 12/31/10; EIN XX-XXXXXXX
03/14/18     30150         United States Treasury             EIN XX-XXXXXXX Minimum Late Filing Penalty          2810-000                                      135.00        261,981.14
                                                              Form 1120 for Period Ended 12/31/11
03/14/18     30151         Tennessee Department of Revenue    Balance Due for TN Form FAE 170 for Period          2820-000                                      168.00        261,813.14
                                                              Ending 12/31/11; EIN XX-XXXXXXX
03/14/18     30152         United States Treasury             EIN XX-XXXXXXX Minimum Late Filing Penalty          2810-000                                      135.00        261,678.14
                                                              Form 1120 for Period Ended 12/31/12
03/14/18     30153         Tennessee Department of Revenue    Balance Due for TN Form FAE 170 for Period          2820-000                                      161.00        261,517.14
                                                              Ending 12/31/12; EIN XX-XXXXXXX
03/14/18     30154         United States Treasury             EIN XX-XXXXXXX Minimum Late Filing Penalty          2810-000                                      135.00        261,382.14
                                                              Form 1120 for Period Ended 12/31/13
03/14/18     30155         Tennessee Department of Revenue    Balance Due for TN Form FAE 170 for Period          2820-000                                      153.00        261,229.14
                                                              Ending 12/31/13; EIN XX-XXXXXXX
03/14/18     30156         United States Treasury             EIN XX-XXXXXXX Minimum Late Filing Penalty          2810-000                                      135.00        261,094.14
                                                              Form 1120 for Period Ended 12/31/14
03/14/18     30157         Tennessee Department of Revenue    Balance Due for TN Form FAE 170 for Period          2820-000                                      146.00        260,948.14
                                                              Ending 12/31/14; EIN XX-XXXXXXX
03/14/18     30158         United States Treasury             EIN XX-XXXXXXX Minimum Late Filing Penalty          2810-000                                      135.00        260,813.14
                                                              Form 1120 for Period Ended 12/31/15
03/14/18     30159         Tennessee Department of Revenue    Balance Due for TN Form FAE 170 for Period          2820-000                                      139.00        260,674.14
                                                              Ending 12/31/15; EIN XX-XXXXXXX
03/14/18     30160         United States Treasury             EIN XX-XXXXXXX Minimum Late Filing Penalty          2810-000                                      205.00        260,469.14

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                                                                                Subtotals :   $3,125.00  $3,275.53
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{} Asset reference(s)                                                                                                                              Printed: 07/16/2018 05:01 PM        V.14.14
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                                                   Cash Receipts And Disbursements Record
Case Number:         308-01429 MFH                                                                     Trustee:            SUSAN R. LIMOR, TRUSTEE (620530)
Case Name:           GENESIS, INC., A TENNESSEE CORPORAT                                               Bank Name:          Rabobank, N.A.
                                                                                                       Account:            ******0466 - Checking Account
Taxpayer ID #:       **-***1030                                                                        Blanket Bond:       $720,000.00 (per case limit)
Period Ending: 06/30/18                                                                                Separate Bond: N/A

   1             2                         3                                          4                                                5                     6                    7

 Trans.     {Ref #} /                                                                                                              Receipts          Disbursements             Checking
  Date      Check #           Paid To / Received From               Description of Transaction                    T-Code              $                    $                Account Balance
                                                             Form 1120 for Period Ended 12/31/16
03/14/18     30161         Tennessee Department of Revenue   Balance Due for TN Form FAE 170 for Period           2820-000                                        132.00         260,337.14
                                                             Ending 12/31/16; EIN XX-XXXXXXX
03/14/18     30162         Tennessee Department of Revenue   Balance Due for TN Form FAE 170 for Period           2820-000                                        100.00         260,237.14
                                                             Ending 12/31/17; EIN XX-XXXXXXX
04/12/18     30163         Massa Estate Group                Storage - December 2017 thru March 2018.             2410-000                                        400.00         259,837.14
                                                             See Invoice No. 206.

                                                                                    ACCOUNT TOTALS                                   503,620.75             243,783.61          $259,837.14
                                                                                           Less: Bank Transfers                      199,858.78                      0.00
                                                                                    Subtotal                                         303,761.97             243,783.61
                                                                                           Less: Payments to Debtors                                                 0.00
                                                                                    NET Receipts / Disbursements                    $303,761.97            $243,783.61



                                                                                                                                         Net               Net                     Account
                                                                                    TOTAL - ALL ACCOUNTS                               Receipts       Disbursements                Balances

                                                                                    MMA # ******5759                                 140,552.53              34,615.03                   0.00
                                                                                    Checking # ******0390                            789,744.95             488,424.27                   0.00
                                                                                    MMA # ******0713                                        0.00                  540.00                 0.00
                                                                                    Checking # ******0747                                   0.00                 1,500.00                0.00
                                                                                    Checking # ******2578                               1,041.66            206,401.06                   0.00
                                                                                    Checking # ******0466                            303,761.97             243,783.61           259,837.14

                                                                                                                                  $1,235,101.11            $975,263.97          $259,837.14




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{} Asset reference(s)                                                                                                                              Printed: 07/16/2018 05:01 PM        V.14.14
